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                            UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF MASSACHUSETTS - SPRINGFIELD


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     IN THE MATTER OF:                . Case #08-12540
                                      .
     THE EDUCATION RESOURCES          . Springfield, Massachusetts
         INSTITUTE, INC.              . July 12, 2010
                          Debtor.     . 1:14:31 p.m. O’clock
     ================================


                     TRANSCRIPT OF TELEPHONIC HEARING ON:
                              STATUS CONFERENCE;
         (#1103) JOINT MOTION OF DEBTOR AND CREDITORS’ COMMITTEE TO
                MODIFY FOURTH AMENDED PLAN OF REORGANIZATION;
       (#1106) MOTION OF TCF NATIONAL BANK TO APPROVE STIPULATION OF
                              ACCEPTANCE OF PLAN;
      (#1120) JOINT MOTION FOR ORDER AUTHORIZING DEBTOR, RBS CITIZENS,
          N.A., AND CREDITORS’ COMMITTEE TO ENTER INTO AND PERFORM
        AMENDED STIPULATION FOR THE SETTLEMENT OF GUARANTY CLAIMS
          RELATING TO THE TERMINATION OF CERTAIN LOAN GUARANTEES;
                 BEFORE THE HONORABLE HENRY J. BOROFF, J.U.S.B.C.

     APPEARANCES:

     For The Debtor:                                         DANIEL GLOSBAND, ESQ.
                                                             GINA L. MARTIN, ESQ.
                                                             Goodwin Procter, LLP
                                                             Exchange Place
                                                             Boston, MA 02109
                                                                    --------continued-------->

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     APPEARANCES: (continued)

     For the Official Committee                              JEFFREY D. STERNKLAR, ESQ.
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                                                             470 Atlantic Avenue
                                                             Boston, MA 02210

     For First Marblehead Corp. and First:                   DENNIS L. JENKINS, ESQ.
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     Administrator:                                          Wilmer Cutler Pickering Hale & Dorr, LLP
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                                                             Boston, MA 02109

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     Indenture Trustee for Student Loan Trusts:              Nixon Peabody, LLP
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     For Nellie Mae Education Foundation:                    D. ROSS MARTIN, ESQ.
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     For Official Committee of Unsecured Creditors:          DAVID J. REIER, ESQ.
                                                             Posternak, Blankstein & Lund, LLP
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     APPEARANCES: (continued)

     For Pension Benefit Guaranty Corporation :               SAMUEL C. BATSELL, ESQ.
                                                              U.S. Government Agency
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                                                              Washington, D.C. 20005

     For Ambac Assurance Co.:                                 JAMES W. KAPP, III, ESQ.
                                                              McDermott, Will & Emery
                                                              227 West Monroe Street
                                                              Chicago, IL 60606

     For RBS Citizens, N.A.:                                  PAUL S. SAMSON, ESQ.
                                                              Riemer & Braunstein, LLP
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                                                              Boston, MA 02108

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                                                              Office of the U.S. Trustee
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                                                              Boston, MA 02109

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                                                              400 Atlantic Avenue
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  1               MR. REYNOLDS:      All rise.

  2               THE COURT:      Good afternoon.      Please be seated.

  3               MR. REYNOLDS:      Case #08-12540, The Education

  4 Resources Institute.        A status conference on the case, as well

  5 as hearings on the joint motion of the debtor and the

  6 Creditors’ Committee to modify the fourth amended plan of

  7 reorganization; a joint motion for an order authorizing the

  8 debtor, RBS Citizens, and Creditors’ Committee to enter into

  9 and perform an amended stipulation; and a motion of TCF

 10 National Bank to approve the stipulation.

 11               Beginning with Mr. Glosband, could I ask counsel

 12 present to please identify themselves for the record as well

 13 as who they represent.

 14               MR. GLOSBAND:     Good afternoon, Your Honor.         Daniel

 15 Glosband from Goodwin Procter representing TERI.

 16               MS. MARTIN:     Good afternoon, Your Honor.        Gina

 17 Martin from Goodwin Procter representing the debtor, TERI.

 18               MR. STERNKLAR:     Good afternoon, Your Honor.         Jeffrey

 19 Sternklar on behalf of the Unsecured Creditors’ Committee.

 20               MR. REIER:    Good afternoon, Your Honor.         David

 21 Reier, Posternak, Blankstein & Rome (low volume, not near a

 22 microphone, unclear.).

 23               MR. PEDONE:     Good afternoon, Your Honor.        Richard

 24 Pedone representing U.S. Bank as Indenture Trustee.

 25               MR. KAPP:    Good afternoon, Your Honor.         Jay Kapp



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  1 representing Ambac Assurance Corporation.

  2               MR. JENKINS:     Good afternoon, Your Honor.         Dennis

  3 Jenkins and John Sigel for the First Marblehead.

  4               MS. PECK:    Good afternoon, Your Honor.         Vanessa Peck

  5 representing GMAC.

  6               MR. BATSELL:     Good afternoon, Your Honor.         Sam

  7 Batsell representing Pension Benefit Guaranty Corporation.

  8               MR. SAMSON:     Good afternoon, Your Honor.        Paul

  9 Samson representing RBS Citizens, NA.

 10               MR. MARTIN:     Your Honor, Ross Martin, Ropes & Gray.

 11 (unclear, not near microphone, cannot hear him) and (unclear

 12 name) is representing the Nellie Mae Education Foundation.

 13               THE CLERK:    And, Mr. Bradford, on behalf of the

 14 United States Trustee, do we still have you on the phone?

 15               MR. BRADFORD:     You do.    Good afternoon, Your Honor,

 16 Eric Bradford for the U.S. Trustee.            Thank you for allowing me

 17 to appear by phone today.

 18               THE COURT:    You’re welcome.

 19               How’s it going?

 20               MR. GLOSBAND:      What did he say?

 21               MS. MARTIN:     “How’s it going?”

 22               MR. GLOSBAND:     I’m about to find out, aren’t I?          I

 23 ask Your Honor first if you would like to proceed with the

 24 modification motion first or with TCF and Citizens’ motions

 25 first?



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  1               THE COURT:    I’ll let you decide.

  2               MR. GLOSBAND:     Pardon?

  3               THE COURT:    I’ll let you decide.

  4               MR. GLOSBAND:     In that case, I will proceed with the

  5 modification motion.

  6               As I suspect you know, I thought that we were

  7 substantially finished with plan related matters when we left

  8 here on April 28th.        I am disappointed that we’re back, but

  9 with a case as complicated as this case has been, I’m not

 10 totally surprised that we’re back.

 11               Understanding the complexity of the case, although

 12 not necessarily different from other cases in this regard, we

 13 provided in the plan that we could modify the plan, if

 14 necessary, to correct a defect or any inconsistency.

 15               The ability to modify a plan is also contemplated by

 16 Section 1127 of the Bankruptcy Code.            So this is clearly not

 17 the first time this has ever happened either to me or under

 18 Chapter 11.

 19               From the perspective of the context of this

 20 modification, I think it’s worth noting, although perhaps it’s

 21 self evident, that the debtor and the Creditors’ Committee are

 22 of like mind on the issues before the Court today.               And while

 23 there are parties who are not of like mind, the general body

 24 of creditors and the debtor are on the same side.

 25               Before I go into a full but abbreviated exposition,



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  1 I would ask the Court if you wish to give us a preliminary

  2 sense of whether you believe at the end of the day on April

  3 28th we had a confirmed plan or the plan is still pending

  4 confirmation.       I’m prepared to proceed in either event or in

  5 the alternative.

  6               THE COURT:    I certainly will listen to anyone who

  7 wishes to argue differently.          But it’s my strong inclination

  8 that until I sign a confirmation order, there is no

  9 confirmation.

 10               MR. GLOSBAND:     Thank you.     I will proceed along

 11 those lines, but I’ll address briefly post-confirmation

 12 modifications as well, because I think the way we’ve presented

 13 this, we should be able to modify our plan either way.

 14               We’ve pretty much flooded you with paper, and I

 15 don’t want to repeat all of that.           I’m going to try to do a

 16 short version of the problem and our proposed solution to the

 17 problem, and stay out of detailed factual contentions in

 18 either direction if I can do that.            And if at the end of

 19 today’s hearing we need to get into factual details, you’ll

 20 tell us, and we will.

 21               The plan proponents, being the debtor and the

 22 Committee, understood when they presented the plan that there

 23 was a limited universe of pre-petition defaulted loans and a

 24 limited universe of cash that was going to go back to the

 25 securitization trusts, and there was an alternative universe,



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  1 if you will, that was going to be transferred to the plan

  2 Trustee.

  3               All of our arithmetic and analysis was premised on

  4 our understanding of that universe.            And the universe in

  5 respect of the pre-petition loans was confined to those loans

  6 that had been purchased from collateral in pledge accounts

  7 held by TERI, TERI’s assets, TERI’s collateral securing its

  8 obligation to honor its guarantee in the event that a loan

  9 defaulted.

 10               When pledge account money ran out, TERI still had a

 11 guarantee obligation, and prior to April 2008 had the money to

 12 honor that obligation and did so from its general operating

 13 account funds.

 14               Under the documents between the parties, lenders and

 15 the securitization trust in particular retained a security

 16 interest in recoveries on defaulted loans that had been

 17 purchased with pledge account collateral, subject to all of

 18 the issues raised in the trust adversary proceeding, but at

 19 least under the documents in the first instance they had that

 20 security interest.        They had no security interest under the

 21 documents in loans purchased with TERI’s operating accounts.

 22 So our focus was on their collateral and what of their

 23 collateral they were to get back subject to the settlement of

 24 the trust adversary proceedings.

 25               The cash component of the issue -- and let me just



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  1 digress in case it’s not vividly apparent from the papers.

  2 The loan component of this issue involves 34 million dollars

  3 in face amount of loans that were purchased by TERI pre-

  4 petition using its general operating account funds, out of a

  5 larger universe of about 364 million dollars face amount of

  6 loans that TERI had purchased in the aggregate.

  7               In respect of cash, TERI and the plan proponents,

  8 for different reasons it turns out, thought that about three

  9 million dollars in recoveries collected just prior to the

 10 bankruptcy date on account of loans purchased with collateral

 11 pledge account proceeds was going to be returned to the

 12 trusts.

 13               TERI’s position was based on the fact that it

 14 thought that the trust had an arguable security interest in

 15 those recoveries that lasted for 21 days before it lapsed

 16 based on commingling.         And without getting into the details of

 17 the argument, all recoveries went into a single account, that

 18 account was swept every night, we think 21 days is the longest

 19 that the security interest should last.              So we were counting

 20 on turning over around three million dollars in that 21-day

 21 category.

 22               The Committee, and they can speak for themselves,

 23 thought that, no, what we were doing was giving back about

 24 three million dollars in recoveries, and recoveries includes

 25 payments for what are called rehabilitative loans.               We turn



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   1 back a loan, they turn over cash, based on a questionnaire

   2 that they had submitted to First Marblehead that First

   3 Marblehead had answered, saying how much in pre-petition

   4 rehabilitative loans and recoveries wasn’t put into the pledge

   5 accounts, how much was floating at the time we filed the case,

   6 almost the same amount of money, around three million dollars.

   7               So we came into the hearing on April 28th with a

   8 plan premised on the economics that I’ve just described.

   9               THE COURT:    That three million is separate from 34

 10 million?

 11                MR. GLOSBAND:     Correct.     Thirty-four million is the

 12 face amount of loans.          There’s arguments over how much the

 13 present value of the collections on the loans -- the --

 14                THE COURT:    That were purchased by TERI’s operating

 15 account, from funds in TERI’s operating account.

 16                MR. GLOSBAND:     Correct.

 17                THE COURT:    Three million dollars is this amount

 18 that is either subject to delayed perfection or on account of

 19 float.

 20                MR. GLOSBAND:     Correct.

 21                THE COURT:    Okay.

 22                MR. GLOSBAND:     But those are the two categories of

 23 assets that are in dispute.

 24                And as I said, our economic analyses, including the

 25 best interest test, including Mr. Peko testimony and



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   1 affidavit, including Mr. Renzi’s affidavit, and all of the

   2 numbers in Schedule B to the plan which laid out what the

   3 securitization trusts were getting by way of claim, what the

   4 trust adversary proceeding settlement adjustment was, all of

   5 those numbers were premised on the plan trust and not the

   6 securitization trusts getting those 34 million dollars in

   7 loans and what turns out to have been six million dollars in

   8 cash.

   9               And, frankly, I guess because we had internalized

 10 that information, we thought the plan and the disclosure

 11 statement provided for that, and we thought the parties

 12 understood that; certainly the economics displayed that.

 13                Subsequent to the April 28th confirmation hearing,

 14 we discovered that at least some of the parties didn’t read

 15 things the way we did.          And it’s become clearer as time has

 16 gone on that Ambac, the Indenture Trustee, and First

 17 Marblehead on behalf of someone, and I’ll come to that issue

 18 later, all take the view that no, no, those loans and that

 19 money were to go to the securitization trusts.                And you can

 20 tell from their objections that they feel strongly about the

 21 issue.

 22                I want to just digress for one second to explain the

 23 6.2 million dollars in cash because it will come up in a

 24 couple of respects.

 25                As I said, we understood that there was three



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   1 million dollars in cash that was to go to the securitization

   2 trusts.       The 6.2 million dollars emanates from what was

   3 supposedly a reconciliation of historically inaccurate

   4 remittances that turns out was reflected in an October e-mail

   5 that’s attached to one of the objections, but it really wasn’t

   6 in the front of anyone’s mind and had nothing to do with

   7 contemporaneous collections and frankly never surfaced as an

   8 issue until this issue came up after the confirmation hearing.

   9                You may hear from others that they asked about

 10 whether we had set aside the money to be returned to the

 11 securitization trusts, and my answer to that was Yes, but

 12 those numbers were never fully reconciled, and we never sat

 13 down until after the fact and discovered that they thought

 14 there was 6.2 million dollars more in those numbers derived

 15 from this reconciliation as opposed to the near term

 16 collection.

 17                 So that’s kind of the context of the issue, and I’m

 18 sure others will have a different view of it, but I just

 19 wanted to make sure that there was a bit of an explanation in

 20 front of Your Honor.

 21                 So where we come down to is that the plan that was

 22 presented for confirmation on April 28th, is subject to two

 23 conflicting interpretations with respect to these issues.                   And

 24 if the plan were interpreted as suggested by the objecting

 25 parties, then in our view it wouldn’t be confirmable.                  First



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   1 of all, none of our evidence supported a plan with that

   2 interpretation.       Second of all, that would be discrimination

   3 among the treatment of the class of unsecured creditors

   4 because some of them would have had their claims calculated on

   5 different assumptions than others.

   6               And most importantly, that plan as interpreted in

   7 their way wouldn’t be feasible because if TERI had to part

   8 with an additional 6.2 million dollars in cash, under the

   9 adjustment mechanisms in the plan it basically would have

 10 negligible to no cash with which to operate.                Best case it

 11 would be $200,000, I think,; worse case it would be a negative

 12 number.

 13                So the record on April 28th simply does not support

 14 confirming a plan as interpreted by the objecting parties.                   So

 15 when we concluded that we had this problem, we decided that

 16 our, you know, our one and only alternative was to modify the

 17 plan.      Notwithstanding some of the tenor of the paperwork,

 18 this was not anything surreptitious on our part.                 It happened

 19 because we discovered that there was a misinterpretation, or

 20 at least disagreements in interpretation.               Without getting

 21 into any of the background facts, the plan that we submitted

 22 interpreted our way was perfectly confirmable, interpreted

 23 their way is not confirmable.            And so to fix that, we proposed

 24 the modifications that are described in our pleadings.

 25                The reason we think the plan has to be modified,



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   1 unless the Court were to interpret it to say -- interpret it

   2 our way and I so rule -- and we don’t want to put you in that

   3 position -- is so that there’s no ability to equivocate about

   4 how it’s to be interpreted, and to make very clear that in

   5 respect to these two issues and a couple of minor ones that

   6 I’ll mention, the plan comes out the way that almost everybody

   7 thought it did.

   8               The way -- ways in which we would implement the

   9 modifications are as follows:           We would fix the definition of

 10 “securitization trust collateral” so that it’s clear that it

 11 only relates to a fixed amount of cash and to loans purchased

 12 with pledge account collateral.

 13                We would increase the unsecured claim of the

 14 securitization trusts by 6.2 million dollars.                Let me explain

 15 why.      At the time that the economic analysis of the plan was

 16 being performed and the decoder was being developed and

 17 applied, neither Grant Thornton nor FDI were aware of the fact

 18 that there were supposedly 6.2 million dollars in loan

 19 recoveries that had come in between sometime in 2006 and

 20 thereafter, and so their understanding of the loans was that

 21 there was that 6.2 million dollars along with other recoveries

 22 still to be recovered.

 23                So they basically didn’t adjust the decoder to

 24 reflect the fact that that money had already come in and

 25 wasn’t going to come in later.            Which meant that the claims of



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   1 the affected securitization trusts were too low, because they

   2 anticipated they’d be getting more money.

   3               So we propose to fix that by basically adjusting

   4 their claims to reflect the fact that they’re not going to get

   5 that money in cash.

   6               So that’s the second modification.           The first is fix

   7 the definition, the second is correct the fact that we didn’t

   8 realize that the 6.2 million had been paid starting in 2006.

   9               And those are really the modifications that address

 10 the two significant issues.           There are some further

 11 modifications that are of less significance, but I’d like to

 12 talk about them briefly.

 13                One is that we have been unable to fully and

 14 accurately account for the allocation of funds in what’s

 15 called the segregated account.            At the time that the Court

 16 authorized and directed TERI in June of 2008 to repurchase

 17 loans from pledge accounts of securitization trusts that

 18 wanted to submit them, as part of that order there was a

 19 direction that recoveries on pre-petition defaulted loans

 20 which were being collected by First Marblehead would be turned

 21 over to TERI and held in a segregated account, and that

 22 account then also became the location for recoveries on post-

 23 petition defaulted loans, what we’ve been calling the Section

 24 552 loans that are to go to the plan trust.

 25                And First Marblehead has filed a -- let me back up.



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   1 In our initial modification, we weren’t confident that the

   2 allocation among trust issue was limited to just the

   3 segregated account.        Between then and now we’ve become

   4 confident of that.

   5               First Marblehead filed a limited reply to our reply

   6 dealing with the issue of that allocation, saying we had this

   7 information, we had that information, we have loan level

   8 details.      We agreed in October of 2008 that we received

   9 everything we were supposed to get in the way of data from

 10 First Marblehead, which is kind of beside the point because

 11 we’re talking about recoveries after that date and recoveries

 12 on loans that they’re still collecting.

 13                The bottom line is we have pretty much everything

 14 they said we have.         What we don’t have is really a small item,

 15 but it’s big enough to prevent our allocating the segregated

 16 account.       And that is we don’t have an allocation of court

 17 costs deducted from the remittances of the recoveries that go

 18 into the segregated accounts.            And our personnel have sort of

 19 asked for that, they’ve been temporized on the other side.                   We

 20 can’t seem to get that information.             It’s a roughly $500,000

 21 item, but there’s no way to know just how much money should go

 22 back to a particular securitization trust if we don’t know

 23 what that trust has incurred by way of court costs.                  We could

 24 do it on a pro rata basis, but that --

 25                THE COURT:    By court costs you mean         --


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   1               MR. GLOSBAND:     -- that wouldn’t be accurate.

   2               THE COURT:      -- attorneys’ fees?       By court costs,

   3 you mean attorneys’ fees?

   4               MR. GLOSBAND:     Sorry, what?

   5               THE COURT:    By court costs you mean attorneys’ fees?

   6               MR. GLOSBAND:     No, I don’t think so.        The way that I

   7 understand the collection process works, and it worked a

   8 little differently before the petition date, attorneys’ fees

   9 are netted from recoveries.          And so that’s kind of an

 10 automatic.       When you get a recovery in respect to a particular

 11 loan, you know it’s net of the court costs, you don’t need a

 12 further adjustment -- excuse me, of the attorneys’ fees.

 13                Prior to the petition date, the collection agencies

 14 would invoice TERI for court costs, and TERI would pay them.

 15 So TERI would know how much in court costs related to a

 16 particular loan.

 17                When the petition was filed and First Marblehead

 18 remained responsible for collections, it authorized the

 19 collecting agencies to deduct the court costs, but they did it

 20 on a bulk basis, and we are unable to allocate it.                 But I

 21 believe it’s such things as filing fees and the like.                  And in

 22 the aggregate it’s not a huge number, but as soon as we get an

 23 allocation of that number, we can also pass out the segregated

 24 account.       So that’s the third modification.

 25                There are a couple of other minor ones.            The first



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   1 is that in light of at least the plan proponent’s view of the

   2 circumstances that led to these problems, they’ve decided that

   3 with respect to First Marblehead related entities, there

   4 should be two changes made in the plan.

   5               The first is that First Marblehead Corporation or

   6 FMER, and I’m not sure which it was, which was going to be on

   7 the Plan Trust Advisory Committee should not be on the Plan

   8 Trust Advisory Committee.          And secondly, FMDS, First

   9 Marblehead Data Services, which was the trust administrator

 10 which was to be exculpated under the original draft of the

 11 plan, the Committee in particular has decided should no longer

 12 be exculpated.        So those two changes have been made to remove

 13 those provisions.

 14                Next, to accommodate the modifications, the

 15 deadlines in the plan for voting acceptance and for

 16 confirmation have been extended out to the end of August

 17 collectively.        And Mr. Sternklar may address this in more

 18 detail.

 19                And then finally the settlements that the Court

 20 approved at the time of the last hearing with the PBGC and

 21 MBIA, which were separate from the plan, have now been

 22 incorporated in the plan, to just sort of neaten things up.

 23                So a couple of more points and then I’ll cede the

 24 podium.

 25                There’s quite a lot of, you know, noise in the



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   1 objections about whether we have, whether the plan proponents

   2 have the right to modify the plan.            If Your Honor retains his

   3 conclusion that the plan hasn’t been confirmed yet, I believe

   4 that absent some sort of egregious bad behavior we have the

   5 ability to modify the plan as of right under Section 1127(a).

   6 And even if we didn’t, I believe the circumstances that I’ve

   7 described would warrant our modifying it under Section

   8 1127(b).

   9               The issues raised in the objections about baiting

 10 and switching, and, you know, reliance and the like, really

 11 aren’t the issues.         We’ve determined that there’s a defect,

 12 and we need to correct that defect, and the cases would permit

 13 us to do that, notwithstanding the peripheral issues raised by

 14 the objecting parties.

 15                In the context of the modification, we also have the

 16 issue of disclosure and process and how that’s to be

 17 addressed.       And we’re very receptive to the Court’s views on

 18 disclosure and process, but let me at least suggest what ours

 19 are.

 20                We believe first that, as demonstrated in the

 21 exhibits to our modification motion, the modifications really

 22 only adversely affect three parties, and those are three

 23 securitization trusts.          They’re the trusts that -- the master

 24 trust that Ambac is the control party for, and they’re trusts

 25 2003 and -- 2003-1 and 2004-1.            And they’re affected if they



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   1 believed and relied on their interpretation of the plan, and

   2 we change that interpretation, because they’re the ones who

   3 were getting among them the 34 million dollars in loans.

   4               THE COURT:    First Marblehead is not adversely

   5 impacted?

   6               MR. GLOSBAND:     First Marblehead is a large but

   7 unsecured creditor.        And if the modification is to either

   8 enforce the plan as we interpreted it or to correct a

   9 situation where substantial value would be going to other

 10 parties, First Marblehead benefits from the modification,

 11 because the return to creditors is better under the originally

 12 interpreted/modified plan than it would be under the plan as

 13 interpreted by those other parties.             So it’s --

 14                THE COURT:    It’s a removal of the exculpation.             Is

 15 that not a detriment?

 16                MR. GLOSBAND:     That’s First Marblehead Data

 17 Services, and I suppose, yes, they could -- they’re affected

 18 by that and they have a right to argue that effect.                  I

 19 wouldn’t dispute that.

 20                In terms of the Plan Trust Advisory Committee, I

 21 would think that’s a neutral.            I don’t think that’s an adverse

 22 effect.

 23                So as to creditors other than these three trusts, if

 24 you view the effect on them as just the allocation of this

 25 additional 6.2 million dollars in claim, there is a dilution



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   1 of a per cent or so in what their estimated recovery would be

   2 based on the numbers in the liquidation analysis.                If you view

   3 the effect on them as avoiding the loss of these assets, it’s

   4 a plus to them.       So I don’t think as to any creditor other

   5 than those trusts there’s any way to say that they are

   6 materially and adversely affected.

   7               The objecting parties pointed out that our initial

   8 modification, where we propose to defer distribution of all

   9 pledge account collateral, would be an adverse effect on all

 10 of the trusts, and we would agree with that, but we’ve

 11 eliminated that problem because we’ll be passing out two

 12 hundred and some odd million dollars and holding back, I think

 13 it’s 16 or so to get it allocated.             So it’s hard to see that

 14 that’s a material adverse effect in that context.                 So I think

 15 we’ve remedied the only thing that I could see might have been

 16 an adverse effect on, other than the three trusts.

 17                Lastly, in terms of process, notwithstanding the

 18 fact that the plan proponents think that only three creditors

 19 can argue that they’re suffering a material and adverse

 20 effect, we are prepared to nonetheless allow all of the

 21 securitization trusts an opportunity to reconsider their

 22 votes, if they wish.         The objections have argued that all of

 23 them are negatively affected.            We disagree with that.        But

 24 rather than getting lost in a process fight, we simply propose

 25 that we would give them all the opportunity to reconsider



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   1 their votes.

   2               And the notice package that we initially proposed,

   3 we would augment.        We initially proposed circulating the

   4 modification motion modified black-line plan, and we would add

   5 to that now a reply pleading and we would add an offer, if you

   6 will, to the creditors if they want, for us to circulate the

   7 objections, although there’s a lot of paper there and if the

   8 creditors don’t want them, it seems like an unnecessary waste.

   9               We would also propose that the process be generally

 10 similar to that to which we agreed in the context of the

 11 original plan with respect to the trust note holders.                  In

 12 other words, we would -- even though trust note holders are

 13 not our creditors, instead the trusts are and the Trustee

 14 perhaps as their emissary, in the initial process we

 15 accommodated their request that we structure a voting process

 16 for trust note holders, so that they could instruct the

 17 intermediaries -- you never know who those people are, but

 18 they are processed through intermediaries.               They send their

 19 ballots to the intermediaries, and the intermediaries pass

 20 along the voting information to the Indenture Trustee.

 21                We would go through that same process and allow

 22 trust note holders to change their votes, if they wish, by

 23 basically conveying the vote change instruction to our claims

 24 agent, Epic, with enough detail so that Epic can match it

 25 against the intermediary vote and redo the arithmetic.                  So



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   1 that’s the process that we would propose.

   2               We think that in this context, the disclosure that

   3 we’re suggesting is, if not more than sufficient, certainly

   4 sufficient.      The modifications are clearly delineated in the

   5 black-lined plan.        The modifications are described, and maybe

   6 over-described between our motion to modify and our reply, and

   7 if anyone has any doubts we can also include the objections.

   8               And I would note that we’re not dealing with a

   9 universe of unknown, faceless trade creditors.               For the most

 10 part, we’re dealing with sophisticated parties who have been

 11 very actively involved in this case.              In particular, the three

 12 trusts that are adversely affected are actively represented in

 13 the room, and have been involved in this process since we

 14 discovered the problem.          And it’s hard to see how any more

 15 disclosure would benefit their decision to accept or reject

 16 the modified plan.

 17                As to the note holders, as I’ve said, I think our

 18 papers are clear.         And there’s certainly no need to solicit

 19 creditors outside the trust universe.              They’re only affected

 20 beneficially by the modifications.

 21                Notwithstanding the protestations and the

 22 objections, there is no requirement in this kind of a

 23 situation for starting the whole process over, producing a new

 24 plan and a new disclosure statement and having that heard and

 25 approved and circulated.           The Court can determine that



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   1 disclosure is sufficient in light of the audience, and the

   2 audience is the one that I’ve described, not an

   3 unsophisticated audience, an audience that’s totally up to

   4 speed on this -- this process already.             To the extent that

   5 individual note holders aren’t, they will be when they see our

   6 modifications.       There seems very little need to address issues

   7 that are beyond just the confines of the modifications

   8 themselves.

   9               The last topic I want to address is the standing of

 10 First Marblehead with respect to most of its objections.                   And

 11 FMDS, the one party that’s affected by the exculpation, joined

 12 the indenture banks’ objections as plan administrator, and in

 13 that regard I don’t dispute their standing.

 14                But First Marblehead Corporation and First

 15 Marblehead Education Resources filed a long, and I would say

 16 quite outspoken objection, arguing only one issue that I think

 17 could affect creditors generally, and that is the cost and

 18 delay of the modification process might outweigh the benefit,

 19 and that’s not I think a relevant issue. We’re stuck in a

 20 situation where we have to modify.             We don’t want to have any

 21 more cost or any more delay than we possibly need.                 But we do

 22 have to go through the modification process.                We just don’t

 23 have an alternative.         So that I think is a non-issue.

 24                Everything else they argue is an issue that they

 25 argue on behalf of the securitization trusts for whom they do



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   1 not speak.      Issues that affect the securitization trusts do

   2 not affect them in their capacity as a creditor in this case,

   3 and they don’t purport to file the objection in any other

   4 capacity.

   5               And so from a prudential standing perspective, and

   6 that’s a perspective honored in Bankruptcy Courts, including

   7 in this Court, including in the First Circuit, they’re arguing

   8 issues that aren’t their issues.            They’re arguing a third

   9 party’s issues, and they don’t have standing to do that.

 10                So that’s pretty much my view of things, Your Honor.

 11 As I say, I’m not -- happy as I am to see you, I’m not

 12 thrilled to be here under these circumstances.                And, you know,

 13 nonetheless, we are doing what we think is the necessary thing

 14 and the right thing and the thing that comports with the

 15 expectations of almost all of the parties in this case and

 16 that remedies a defect that we discovered in our plan.

 17                I’m going to cede to Mr. Sternklar, who I think may

 18 have a few additional comments.

 19                THE COURT:    Okay.

 20                MR. STERNKLAR:      Thank you, Your Honor.        Jeffrey

 21 Sternklar for the Creditors’ Committee.

 22                We join with the debtor in seeking to modify this

 23 plan to carry out what has always been our sincerely held

 24 intentions, and to remedy an obvious defect in that the, as

 25 the objecting parties have so vociferously pointed out, the



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   1 plan doesn’t mean what we intended, and it has to be fixed.

   2 We’re not changing the deal, we’re simply trying to implement

   3 it.

   4               Mr. Glosband outlined the changes to the motion --

   5 to the plan.      I obviously won’t belabor it.          I just want to

   6 highlight one point on the recoveries of the three million

   7 dollar issue.

   8               The bid ask, if you will, is really close to 9.2

   9 million as opposed to three million.             And the way you get

 10 there is, our view is it’s three million dollars, based

 11 roughly two and a half million dollars for proceeds of

 12 recoveries and roughly half a million dollars for -- proceeds

 13 of rehab, excuse me, and half a million dollars for recoveries

 14 that TERI collected in the few weeks before bankruptcy.

 15                The other side says, “Well, you’re right on the two

 16 and a half million for the rehabs, but you’re wrong on the

 17 half million recoveries; that’s really another 6.2 million.”

 18 So 2.5 plus 6.2 they would say is 9.7 million.                So that’s the

 19 spread we’re dealing with.           It’s not just the difference

 20 between three million or six million, it’s that brackets where

 21 the two sides are on that point.

 22                With respect to the changing to the timing of

 23 release of the segregated recoveries account, Mr. Glosband I

 24 think correctly outlined the issue.             We’re aware of that we

 25 need additional information.            First Marblehead has made it



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   1 abundantly clear they don’t intend to provide it.                We suspect

   2 we’ll be filing a motion for a 2004 exam shortly if we can’t

   3 resolve it, and we’ll get the information that way.

   4                With respect to First Marblehead and the removal of

   5 FMDS from the exculpation provision and its participation on

   6 the Plan Trust Advisory Committee, it’s not punitive and it’s

   7 not simply spite.        What the facts that led up to this has

   8 revealed is the inherent conflict that First Marblehead is in.

   9 On the one hand, it’s an unsecured creditor, the FMC.                 On the

 10 other hand, it’s clearly looking out for the interest of the

 11 securitization trust on their secured claims as well as their

 12 unsecured claims, as administrator.

 13                 You know, there are potential claims that are

 14 reserved through the plan against First Marblehead, things

 15 like claims for alter-ego, claims that they breached their

 16 fiduciary duty, claims for negligence, claims for contract

 17 breach.        What they highlighted to us was that they couldn’t

 18 serve on this Committee given their conflicted position.                   And

 19 that was really -- when we saw all this, given how we got to

 20 where we are, it was clear that --

 21                THE COURT:    This wasn’t -- it wasn’t clear to you in

 22 April?

 23                MR. STERNKLAR:      No, it was not.      We thought we had

 24 aligned the interests, and it became clear afterwards.

 25                 With respect to your question to Mr. Glosband about



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   1 whether First Marblehead is adversely affected by the plan,

   2 to the extent that question was in the context of evaluating

   3 whether First Marblehead should be entitled to change its vote

   4 as an affected party, the short answer is First Marblehead

   5 didn’t vote.      So there’s nothing for them to change.

   6               So whether they’re adversely affected or not, for

   7 purposes of Rule 3019, and whether they should have a right to

   8 change the vote is not at issue here.             This isn’t a do-over

   9 where we’re just going to re-vote.            1127 says you talk about

 10 changing a pre-existing vote, and the case law is clear.                   If

 11 you didn’t vote, you don’t now get a chance to submit a new

 12 vote, or a first vote.

 13                As I see the decision tree here, Your Honor, this is

 14 the preliminary hearing.           I believe that we requested in a

 15 motion, and the first issue is whether the plan has been

 16 confirmed, and with Your Honor’s permission I won’t belabor

 17 whether circumstances warrant under 1127(b), I view that more

 18 as rebuttal to the contention that the plan has been

 19 confirmed.       And with Your Honor’s permission, I’ll reserve

 20 that if Your Honor wishes to hear it after hearing the

 21 contrary argument.

 22                If the plan has been confirmed, then the question is

 23 who gets to change their vote.            As Mr. Glosband said, we will

 24 accept for argument’s sake the contention of the

 25 securitization trusts that they’re all adversely affected, and



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   1 of the objecting parties those that voted would have an

   2 opportunity to change their vote, should they choose to do so.

   3               We don’t believe changing the vote ultimately

   4 affects confirmability of the plan.            We will have impaired

   5 classes voting to accept.          We think that it really only goes

   6 to whether they opt in or opt out of the settlement.                 So it

   7 affects what happens after confirmation.              But it doesn’t, in

   8 our view, affect the confirmability of the plan.

   9               The Court would then need to decide if, as we

 10 requested, the pleadings provide adequate disclosure.                  Under

 11 1125, American Solar King, the case we cited throughout our

 12 materials, stated that 1127 does not require a brand new

 13 disclosure statement, nor is that common practice in pre-

 14 confirmation modifications that require brand new disclosure

 15 statements, particularly as Mr. Glosband noted where as here

 16 the only parties changing their votes and the only parties who

 17 would need information to decide whether to change their votes

 18 are the objecting parties who, if nothing else, clearly have

 19 demonstrated they’re sophisticated and have all the

 20 information they could possibly need.              Indeed, it appears

 21 they’ve already decided, but we’ll see.

 22                Your Honor will need to schedule a final hearing

 23 after setting a deadline under Rule 2002(a)(5) for affected

 24 parties to change their vote.            If the Court’s calendar can

 25 accommodate us, we would be grateful if we could have that


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   1 hearing.      The deadline we put was August 15th, it turns out

   2 that’s a Sunday, so if sometime the week of the 16th is

   3 available for the Court to have a final hearing to confirm the

   4 modified plan, we’d be grateful.

   5               Your Honor needs to -- may need to decide, or may

   6 choose to decide what objections to confirmation Your Honor

   7 will consider.       As we argued in our pleadings, there’s -- to

   8 the extent the modifications don’t change something Your Honor

   9 has already found, Your Honor need not, and we submit should

 10 not, reconsider those findings, and that the objections at the

 11 final hearing should be limited to matters that result from

 12 the proposed modifications.

 13                Your Honor, finally, the three objecting parties,

 14 there’s clearly a lot of overlap, but there are some

 15 differences.       Ambac particularly makes a very strong,

 16 passionate argument that it relied upon various things that

 17 were in the plan and disclosure statement to reach the

 18 conclusions it reached.          And I think for purposes of this

 19 hearing, we would accept that at face value, that they relied.

 20                  This isn’t a breach of contract action.             If they

 21 relied on the plan, we similarly relied on Section 14.4 of the

 22 plan, which was a critical part of what they voted to accept,

 23 their -- the analysis of the objecting parties, the contract

 24 type of analysis about you can’t change things if there’s no

 25 ambiguity or almost like a parol evidence rule argument, would



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   1 effectively read 1127(a) out of the Bankruptcy Code and would

   2 certainly read Section 14.4 out of the plan.               It’s not a

   3 simple argument of contract interpretation.              1127 provides for

   4 something else.

   5               Finally, the standing argument that Mr. Glosband

   6 made about First Marblehead speaks to a -- not only that

   7 issue, but more broadly, who is it that speaks for the

   8 securitization trusts?         We’ve heard throughout this case that

   9 nobody speaks for the trusts, that the Indenture Trustee lacks

 10 authority to agree to things, and that’s why we had to do a

 11 settlement, not by overt agreement but by an offer through the

 12 plan.

 13                First Marblehead says it doesn’t really speak for

 14 the trusts, it’s just sort of looking out for their interests.

 15 But they certainly seem to have enough authority to say no

 16 when we seek to modify the plan.             They either speak for the

 17 trusts or they don’t.          If they do speak for the trusts, they

 18 should say so, and they should say what their authority is to

 19 speak for the trusts.          If they don’t, then they don’t have

 20 standing to be asserting objections that are uniquely those of

 21 the securitization trusts.

 22                And it’s put us, and I submit this whole process, in

 23 an untenable position of having to negotiate with a cipher and

 24 having to deal with a cipher.            They can’t commit to things

 25 except to say No when they don’t like this.               And I think time



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   1 has come for them to clarify their authority, if they’re

   2 speaking for the trusts, or to sit down if they don’t.

   3                 We’d ask you to approve the motion, Your Honor, sign

   4 the preliminary order that we submitted.              Thank you.

   5                THE COURT:    Thank you.

   6                MR. KAPP:    Good afternoon, Your Honor.         Jay Kapp on

   7 behalf of Ambac Insurance Corporation.

   8                 Before I begin, Your Honor, disclosure, I am the

   9 proud owner of a one-year old and a three-year old living

 10 Petri dish and they go to the park and play with other Petri

 11 dishes and bring back these wonderful germs and viruses that

 12 they’re over with in about eight hours and Dad gets walloped

 13 for a couple of weeks.          So I apologize in advance for my voice

 14 and for my coughing and for the fact that one ear is plugged

 15 up.      And so with that blatant plea for your sympathy, I will

 16 begin.         But if I talk too loud or soft, please tell me because

 17 I can’t really hear what I’m saying, which sometimes, you

 18 know, you may agree that’s okay.

 19                  Once again, Your Honor, Ambac Insurance Corporation.

 20 Mr. Sternklar talks about we have a cipher.               Well, Ambac is

 21 not a cipher, Your Honor.           Ambac is the controlling party or

 22 credit facility provider for three of the securitization

 23 trusts, the master trust, the 2007-3 trust and the 2007-4

 24 trust.         We vote essentially, Your Honor, for those trusts.

 25                  In addition, Your Honor, Ambac holds interest in ten



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   1 of the other securitization trusts, although we are not a

   2 controlling party.        And we are a controlling party with one of

   3 the key corp trusts.

   4                So with respect to the securitization trusts, Ambac

   5 has interests or is the controlling party of 13 of the 17

   6 securitization trusts, and Ambac voted all of its interest in

   7 support of the fourth amended plan.

   8                You know, Your Honor, candidly, part of all this

   9 spin, and we heard it here today, we’re a little bit surprised

 10 to get this motion and then find out that we have been painted

 11 as the bad guy merely because we negotiated a term, believed

 12 what it said, and voted in reliance of that provision.

 13                 We heard today, and it’s a concept from Mr.

 14 Sternklar, that they’re not changing the plan, they’re simply

 15 trying to implement it.          I think we’ll move along a lot faster

 16 if we could all agree that, yes, they’re doing quite a major

 17 change.        With respect to the master trust, it’s a change of

 18 effectively reducing the face amount of defaulted loans that

 19 will be transferred to the master trust of over 25 per cent.

 20 I mean, that’s a change, Your Honor.

 21                 And it’s a change that seeks to modify a very simple

 22 concept that is fundamental to the securitization trust

 23 settlement that was negotiated over the last two years.                   And

 24 Your Honor, and that is set forth in Section 6.2(c) Romanette

 25 (vi) which says, and I’ll summarize,



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   1               “ -- on the effective date the debtor shall transfer

   2               to each accepting securitization trust all defaulted

   3               loans that were purchased by or on behalf of the

   4               debtor or its agent from the applicable

   5               securitization trust prior to the commencement date.

   6               All defaulted loans, Your Honor.          There’s no

   7 contingency.      There’s no qualification.         If a defaulted loan

   8 was purchased from the securitization trust by the debtor,

   9 then it was to be returned to the securitization trust.                  “All”

 10 means “all,” Your Honor.

 11                The simple concept that’s set forth, as I said, in

 12 Section 6.2(c) of the plan.           It’s also set forth again in the

 13 definition of securitization trust collateral.                It’s also set

 14 forth in three separate places in the disclosure statement.

 15                THE COURT:    Has Ambac ever suggested that it had a

 16 security interest in those particular, in those particular

 17 loans?

 18                MR. KAPP:    No, Your Honor.       But with that said, as

 19 we set forth --

 20                THE COURT:    And that was simply a resource that was

 21 going to be used to settle with.

 22                MR. KAPP:    I’m sorry?

 23                THE COURT:    So that was simply going to be a

 24 resource that the debtor was going to use to settle with

 25 Ambac.



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   1               MR. KAPP:    Yes.    The securitization trust settlement

   2 was, and part as it’s set forth in the pleadings, a

   3 complicated negotiation about the arbitration and who gets

   4 what.     And there’s lot of -- for the concept, and we fully

   5 acknowledge that there are some loans that we may not have a

   6 security interest in.

   7               However, we’re also giving up a lot of things that

   8 we think we do have a securitization -- we do have a security

   9 interest in.      So the mere fact that you say, “Aha!              You don’t

 10 have a security interest in that; you must not have thought

 11 you were entitled to,”          well, Your Honor, we’re giving away a

 12 lot of things that we have a security interest in that we

 13 thought we’re entitled to.           But it’s a negotiation:         you take

 14 some, we take some, we all hate the deal, and we go forward.

 15                So, yes, we acknowledge -- well, we acknowledge that

 16 they purport that some of these loans were purchased from the

 17 general account.        There’s no background information, by the

 18 way.      There’s nothing to support that, other than the comment

 19 in the motion.        We would like some detail making that clear.

 20                But, yes, Your Honor, we do acknowledge the point

 21 that they do say that some of those were purchased with their

 22 own funds.       And if it was purchased with their own funds, then

 23 we do acknowledge that that may mean we don’t have a security

 24 interest in them.         We don’t acknowledge it doesn’t mean we

 25 thought we had a deal and we understood what was going where.



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   1               Does that make sense?

   2               THE COURT:    Yes, thank you.

   3               MR. KAPP:    You know, and, Your Honor, the plan

   4 proponents never argue ever that the language in the plan

   5 sections is not clear, and they also do not point to any

   6 language in the plan that in any way contradicts those two

   7 sections in the plan.         And that’s because the plan contains no

   8 such conflicting language.          The plan is clear, the

   9 securitization trusts are to receive all the pre-petition

 10 defaulted loans.

 11                And, Your Honor, if I can just for a minute, I would

 12 like to discuss a little bit of why -- of the negotiations,

 13 because I am going to try to -- even though you’ve partly

 14 rained on my parade, I am going to try to argue 1127(b).

 15 Legitimate expectations of creditors is a factor, and so if I

 16 may, I would like to discuss a little bit of the history.

 17                But, you know, Your Honor, there’s no reason why

 18 impaired creditors voting on the plan could not rely on the

 19 clear language of the plan.           And indeed, there’s nothing

 20 before this Court to suggest that creditors did not rely upon

 21 that, or understand such clear language, when they

 22 overwhelmingly voted in support of the plan.                I mean, that’s

 23 what we’re missing, Your Honor.            The plan is clear, and all

 24 the classes voted overwhelmingly in support of it.

 25                Your Honor, the clarity and simplicity of this



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   1 concept was not by accident.           It’s a result of intensive

   2 detailed negotiations over an extended -- expanded period of

   3 time.

   4               All this back and forth, Your Honor, of the

   5 pleadings between the plan proponents and First Marblehead

   6 about who said what, and this “he said/she said,” if you will,

   7 Your Honor, to Ambac, none of that is relevant.               Because Ambac

   8 negotiated directly and only with the plan proponents.

   9               And as we set forth in our objection, Your Honor,

 10 we’ve tried to -- we’ve been trying to get out of this case,

 11 Your Honor, for over a year.            We’ve negotiated two

 12 settlements, one with TERI and then one with both plan

 13 proponents.       One was filed August 13th, the other one was

 14 filed December 1st of last year.

 15                The concept that all defaulted loans purchased pre-

 16 petition, that was in both of those settlements.                 As they

 17 acknowledge, and we point out in our objection, that concept

 18 was then rolled over into the first amended plan filed October

 19 22nd, and it’s been in every plan to date.               It’s been there.

 20 Same language.

 21                And indeed, when it wasn’t, Your Honor, Ambac

 22 objected.

 23                And I would point, Your Honor, we filed an objection

 24 to the third amended disclosure statement on February 12.                   And

 25 in particular, Your Honor, when -- we said the following.



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   1               “The disclosure statement does not expressly

   2               identify the entity that will receive defaulted

   3               loans purchased by the debtor prior to the petition

   4               date.   Although it is Ambac’s understanding based

   5               upon conversations with counsel of the plan

   6               proponents, that the securitization trusts will

   7               receive such defaulted loans purchased by the

   8               debtors prior to the petition date, the disclosure

   9               statement currently does not expressly provide for

 10                such treatment or for any other treatment.             As a

 11                result, such ambiguity should be addressed by the

 12                securitization trusts, including the Ambac trust, to

 13                be able to adequately assess the securitization

 14                trust settlement.”

 15                Your Honor, in resolution of such objection, and

 16 this is exactly the issue we’re talking about now, the plan

 17 proponents amended the Section 6.2(c) Romanette (vi), to read

 18 exactly as it reads now, to provide for the clear language it

 19 contains today, that all pre-petition defaulted loans will be

 20 transferred to the securitization trusts.

 21                This is a perfect time, Your Honor, if there was

 22 going to be any other interpretation -- I mean, this was

 23 basically our trying to get on the same page, have apples be

 24 apples, and say what are we talking about.               And instead of

 25 hearing different interpretation, we got -- the plan



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   1 proponents revised the section to read as it currently reads

   2 today, “all loans.”

   3               And, Your Honor, it goes deeper than that as well.

   4 Ambac also objected on February 12th to the chart set forth in

   5 the disclosure statement on Section 183(d)(6).               And that chart

   6 purports to set forth all the defaulted loans purchased by the

   7 debtor from every single securitization trust, both pre-

   8 petition and post-petition defaulted loans.

   9               And at that time, Your Honor, the chart didn’t

 10 provide that information for the Ambac trust.                It contained

 11 the information for all the other securitization trusts, but

 12 not for Ambac.        And so Ambac objected again, Your Honor, and I

 13 read this, because once again it’s exactly on the issue we’re

 14 talking about now.

 15

 16                “In order for Ambac to make an informed judgment as

 17                to whether to accept the securitization trust

 18                settlement, the debtor should be required to

 19                disclose the face amount of defaulted loans

 20                pertaining to the Ambac trust purchased by the

 21                debtors both prior to and after the petition date.

 22                Without such information it is difficult, if not

 23                impossible, for Ambac to make an informed decision

 24                as to whether to accept the proposed settlement.”

 25                And I quote, Your Honor,



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   1               “As it has no assurance that Ambac and the plan

   2               proponents are contemplating the same or similar

   3               amounts with respect to such defaulted loans.”

   4               So there we are, Your Honor, we’re asking what are

   5 we doing?

   6               And I would note, Your Honor, from their response on

   7 page 7, we’ve now learned that prior to February 6, that TERI

   8 was aware that some of the defaulted loans purchased by the

   9 debtor from the securitization trusts were purchased with

 10 funds not from the securitization trusts.               They say that on

 11 page 7, they’re aware of it.            That was prior to February 6,

 12 but there they are on February 25th negotiating to resolve the

 13 Ambac objection.

 14                And what did they do, Your Honor?          They updated the

 15 defaulted loan chart to set forth the pre-petition defaulted

 16 loans purchased from the debtor, by the debtor, from the

 17 securitization trusts, and the Ambac trust, and such numbers

 18 included all the defaulted loans purchased from the

 19 securitization trusts by the debtor pre-petition.                 All of

 20 them.      All of them.     There wasn’t any break-out, there wasn’t

 21 any contingency.        And they don’t dispute that fact, Your

 22 Honor, that the chart sets forth all the pre-petition

 23 defaulted loans.

 24                So, Your Honor, not only did Ambac rely on the clear

 25 language of Section 6.2(c)(vi) that “all” means “all.”                  They



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   1 also relied upon their negotiations and the chart that sets

   2 forth the exact dollar amount of the pre-petition defaulted

   3 loans that were purchased from the master trust and the Ambac

   4 trust, pre-petition.

   5               And Your Honor, this is the only place in the

   6 disclosure statement that breaks down individually how much

   7 was purchased from each individual securitization trust.                  So

   8 of course they relied on it.

   9               THE COURT:    So let’s assume that everyone was

 10 absolutely clear and that the plan proponents came back and

 11 said, “All right, we’d like to clear this up because we

 12 certainly don’t want you to be confused in any way; we are

 13 talking only about the loans that were purchased from the

 14 pledged accounts.”

 15                So what is your -- what is Ambac’s next move?

 16                MR. KAPP:    As of today?

 17                THE COURT:    As of then.

 18                MR. KAPP:    Well, Your Honor, at that point

 19 presumably we were still negotiating the plan.                I --

 20                THE COURT:    So Ambac would have said, “We’re not

 21 gonna go along with that”?

 22                MR. KAPP:    Those -- Your Honor, there’s a lot to be

 23 made that we’re a financial institution and therefore

 24 sophisticated.        But we believed what we thought we believed.

 25 And that -- this interpretation --



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   1               THE COURT:    Well, I’m not suggesting bad faith on

   2 anybody’s part, nor am I suggesting that this is a problem

   3 other than a failure to -- of minds to meet.

   4               All I’m saying is, let’s assume that this problem

   5 had been completely identified with the same clarity which is

   6 being sought today, and they said to Ambac, “Oh, no, no, you

   7 thought we were talking about the loans that were purchased

   8 out of the operating account?           No, no, no.     Just the ones out

   9 of the pledged accounts.”          So Ambac would have done what?

 10                MR. KAPP:    I think Ambac would have done what Ambac

 11 had done previously, which was negotiate with the plan

 12 proponents, as that understanding was different than ours,

 13 would change our valuation of the entire negotiated

 14 settlement, which it does, and therefore we would have gone

 15 back and readdressed the entire settlement.

 16                THE COURT:    And if they had said to you, “You know,

 17 we’re going to stay with what we’ve got,”               and they had filed

 18 a plan in the fashion and with the clarity that they’ve done

 19 it now, does -- did Ambac have any leverage other than to

 20 refuse to accept the plan?

 21                MR. KAPP:    Your Honor, my answer probably is going

 22 to be inadequate because I haven’t completely thought through

 23 it.      I would say that, and we set forth in our objection, that

 24 they put forth in their pleadings a lot of different places

 25 where there was value to having Ambac go along with them.                   And



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   1 if Ambac did not go along, as I stated, Ambac has interests in

   2 13 of the securitization trusts.

   3               If 13 securitization trusts -- and I’m no way

   4 suggesting that that would have happened, we never had to vote

   5 on it because we thought we had a deal.             If 13 securitization

   6 trusts opt out of this plan, I don’t know how this plan is

   7 workable.      I don’t know how it’s workable.          I don’t believe

   8 that there’s enough money to sustain this, and I don’t -- to

   9 fight the fight that needs to be fought for as long as it will

 10 take.      I’m not sure, I don’t believe their statements that

 11 that’s no big deal.

 12                Maybe one, but Your Honor, a couple?           Particularly

 13 when they’re all on board now; I don’t know.                I think they

 14 have shown they negotiated for a long period of time with

 15 Ambac to get Ambac back on board and they were.                I don’t

 16 believe that they would have just willy-nilly flushed Ambac

 17 down the toilet.

 18                THE COURT:    So, so you say that it would have been--

 19                MR. KAPP:    Well, maybe they would, I don’t know.

 20                THE COURT:    All right.

 21                MR. KAPP:    And then we’d be where we are.           But I

 22 think what would have happened is we would have continued as

 23 we had done, and I thought we actually had a pretty good line

 24 of communication up until we didn’t, but I think we would have

 25 gone back and readdressed that.            And I don’t know where it



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   1 would have gone, but I’m pretty sure that’s what would have

   2 happened.

   3                 But instead, Your Honor, we thought we had a deal,

   4 and we moved forward.

   5                 Your Honor, as I said, I bring that up because I

   6 think that background’s helpful when discussing the actual

   7 legal arguments.       And if I can, I’d like to briefly run

   8 through them and try my best, in my weakened condition, Your

   9 Honor, to convince you about 1127(b), another shameful plug,

 10 but here I go.

 11                  The standards of 1120(c) of the Bankruptcy Code we

 12 believe should be applied to the motion.               Although 1127(b)

 13 doesn’t define when confirmation occurs, it doesn’t have to,

 14 Your Honor, because that’s taken care of by 1129.

 15                  And Ambac in its objection cites a litany of cases,

 16 Your Honor, for the proposition that the requirements of 11 --

 17 if the Court finds that the requirements of 1129 have been

 18 met, it must confirm.

 19                  The plan proponents don’t dispute any of these

 20 cases.         They don’t bring it up in their response.          And it is

 21 also undisputed, Your Honor, by all the parties, that this

 22 Court at the confirmation hearing on April 28th, 2010, found

 23 that the requirements of 1129 had been satisfied.

 24                  Now, Your Honor, therefore Ambac believes, after the

 25 Court made this finding, the plan either confirmed, which we



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   1 actually don’t think happened, but what we do think happened

   2 is the Court is required to confirm that plan.

   3               The procedural -- we understand that an order is

   4 needed, but, Your Honor, that could be a one-word page that

   5 says “confirmed,” and it’s done.            And the concept that that is

   6 what is holding up confirmation, when all the requirements

   7 have been found under 1129, we could find no case law for it,

   8 neither could they.

   9               And, Your Honor, that just doesn’t jive with the

 10 case law that interprets Congress’s intent behind 1127(b).

 11 And we cite a fair amount of cases with respect to that, Your

 12 Honor, including Antiquities            which says, and I quote,

 13                “Congress drafted Section 1127(b) to safeguard the

 14                finality of plan confirmation.          If Congress had not

 15                so drafted Section 1127(b), a proponent of a plan

 16                could file an endless series of motions to modify

 17                the plan, seriously jeopardizing the incentive for

 18                creditors to vote in favor of the plan.”

 19                We also, another case we cite, Your Honor, is Rickel

 20 Association which quote,

 21                “Section 1127(b) reinforces the principle of

 22                finality by preserving the rights bought and paid

 23                for under a plan of reorganization.”

 24                And as previously described, Your Honor, this has

 25 been negotiated and negotiated.            We thought we had a deal.         We


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   1 do think that’s relevant, despite Mr. Sternklar’s comments,

   2 precisely for 1127(b) and what I read here.              And we have voted

   3 on the basis of such negotiations.

   4                And, Your Honor, we also note at some point it has

   5 to stop.       They filed a plan, they amended the plan four times.

   6 That plan had a confirmation hearing.             We found all the

   7 requirements of 1129 were met.           They then modified the plan on

   8 June 9th.       They modified the plan again on July 9th to undo

   9 some of the changes they made on June 9th.              I mean, enough,

 10 Your Honor.         It’s time -- it’s time to go forward.            And at

 11 least if they’re going to change the plan, they need to do it

 12 by conforming with the heightened standards of 1127(b), to

 13 protect the rights that were bought and paid for pursuant to

 14 negotiations.

 15                 No one’s disputing that occurred, Your Honor, and

 16 the case law speaks directly to it, and to protect those

 17 rights.        And they don’t dispute in any way those cases.             And

 18 there’s no case laws that they cite that somehow throws the

 19 cases I just read to you -- tries to distinguish that or is

 20 contradictory to those cases.

 21                 And, Your Honor, if that’s the case, if 1127(b)

 22 applies, then we argue that they don’t satisfy the standards

 23 of 1127(b).        Under 1127(b), it is the plan proponents’ burden

 24 to demonstrate that circumstances warrant a modification to

 25 the plan.


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   1               The cases are very clear, Your Honor, this is a very

   2 hard standard to meet.         Indeed, as we cite the Modern Steel

   3 case, that case held that an inability to fund the plan does

   4 not justify modifications.

   5               And even where the Court did find that in a workable

   6 plan constituted a circumstance warranting modification, such

   7 Courts first determine that the plan was unworkable through no

   8 fault of the plan proponents.

   9               And Your Honor, that touches the Dunalot Dairy

 10 (phonetic -- Dunavant & Son Dairy?) case which both us and the

 11 plan proponents cite.

 12                Also Courts have refused to modify the plan where it

 13 would impact the legitimate expectations of creditors.                  The

 14 plan proponents acknowledge this point in their response.

 15 They also cite to Envirodyne as we do.              We also cite to Best

 16 Products for that proposition.

 17                Your Honor, the plan is workable here.            As the plan

 18 proponents’ counsel and advisors advised this Court on April

 19 28th, the plan is essentially a pot plan.               Whatever’s left

 20 goes to unsecureds.         If the plan proponents are seriously

 21 going to contest the plan isn’t feasible, we think there

 22 should be an evidentiary hearing to somehow demonstrate how

 23 the plan is not a pot plan and how their comments made on

 24 April 28th are somehow different.             They’d have to explain this

 25 because it’s directly contrary to the comments they made on


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   1 the 28th.

   2               The plan proponents’ response -- excuse me, Your

   3 Honor.

   4               Moreover, if the plan is currently unworkable, it

   5 certainly hasn’t been demonstrated that it is unworkable

   6 through no fault of the plan proponents.              Indeed, Your Honor,

   7 as they self acknowledge, they knew of this issue prior to

   8 February 6th.       They negotiated clear language that runs

   9 contrary to that understanding.           And it’s quite clear that all

 10 defaulted loans go to the securitization trusts.

 11                So, Your Honor, that would have to be demonstrated

 12 as well.

 13                For their part, Your Honor, the plan proponents try

 14 to suggest that 1127(b) is an easier standard, and that

 15 modification is allowed in a multitude of contexts.                  They say

 16 that in paragraph 47 of their motion.

 17                As we set forth in our objection however, Your

 18 Honor, most of their cases deal with 1127(a), not 1127(b), and

 19 so are not applicable.          They do cite to a Beal Bank case which

 20 does refer to 1127, but it’s not a 1127 case, Your Honor.

 21 There the Court modified the plan itself, not pursuant to

 22 1127, but through its own inherent powers.               And all they did

 23 was not change treatment, they just extended a payment

 24 deadline.

 25                Now you’ve heard today, Your Honor, and they argue


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   1 in their response, the plan proponents now try to lessen the

   2 standards of 1127(b) by merging the two standards in 1127(b),

   3 substantial consummation, and the plan -- circumstances must

   4 warrant.      They basically argue that if a plan hasn’t

   5 substantially consummated, then circumstances warrant a change

   6 in the plan.

   7               They also argue in their response, Your Honor, that

   8 the creditors’ expectations can’t be upset if the plan hasn’t

   9 substantially consummated.          They cite to no case law for that

 10 proposition, Your Honor.

 11                And, Your Honor, if I just may, there’s no case law

 12 to support this.        There’s two separate requirements under

 13 1127(b).       A plan may be only modified only if circumstances

 14 warrant modification, but before substantial consummation.                   As

 15 Collier’s says, and they quote Collier’s,

 16                “Substantial confirmation refers to whether a plan

 17                is modifiable at all, while circumstances warrant

 18                relates to whether a modifiable plan can be modified

 19                under the facts.”

 20                Your Honor, we cite to four -- many cases, but four

 21 in particular:        Price, Modern Steel, Mini Storage, and

 22 Dunavant.       All evaluated whether the circumstances warrant

 23 modification separate and apart from the question of

 24 substantial consummation.           It’s separate, Your Honor.         And

 25 they just don’t meet the standard.


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   1               And finally, with respect to 1127(d), Your Honor,

   2 all they argue is that circumstances warrant so that they can

   3 -- they can clean up ambiguity in the plan.              They cite to no

   4 case law where this was sufficient.            We were unable to find

   5 any case law where a Court, just to clarify the clear language

   6 of a plan, allowed an 1127(b) modification.

   7               And indeed, Your Honor, the result flies in the face

   8 of two well-established strings of case law.               One, the concept

   9 that ambiguous terms are construed against the drafting party.

 10 We don’t think there are any ambiguous terms in the plan, Your

 11 Honor, but if they are, they need to be construed against the

 12 plan -- against the plan proponents.

 13                Particularly, Your Honor, when the plan, as Section

 14 1416, which says if there’s any ambiguity between the plan and

 15 the disclosure statement, the plan governs.               They cited to no

 16 conflicting language in the plan.             They mere -- they cite to

 17 no actual language in the disclosure statement.                But they say,

 18 “Well, if you look at chart on this page, one number, and

 19 compare it to the chart on that page on another number, then

 20 you should realize they’re inconsistent, and therefore what it

 21 says on this chart on the third page shouldn’t apply.”                  That’s

 22 basically what they argue, Your Honor.

 23                But even if it is ambiguous, the plan Section 1416

 24 says you don’t pay attention to it if the languages in the

 25 plan are clear.        They are clear, Your Honor.



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   1                 And second, once again, Your Honor, 1127(b) is

   2 clearly designed to protect the terms of the negotiated plan

   3 once it is confirmed.         Congress understood, Your Honor, that a

   4 plan can always be revised, a deal can always be re-cut, but

   5 for 1127(b) Congress provided that once a deal was confirmed,

   6 it can’t be modified unless there is a distinct change in

   7 circumstances.

   8                 There’s no such change in circumstances here, Your

   9 Honor.        They’ve never even tried to demonstrate it.           And

 10 therefore, we would argue circumstances do not warrant

 11 modification under 1127(b), and the motion should be denied.

 12                  Now in the alternative, Your Honor, deep breath, if

 13 the Court determines that it is appropriate to modify the

 14 plan, then unfortunately we believe the entire process must be

 15 restarted.        Indeed, Your Honor, the case law is very clear

 16 here.      That where a creditor class is adversely harmed, a new

 17 disclosure is required, new solicitation is required, and

 18 impaired classes should vote, and the new plan itself must

 19 satisfy all the conditions of 1129.

 20                  The plan proponents acknowledge that three of the

 21 securitization trusts are adversely impacted here, including

 22 the master trust.

 23                  Your Honor, as I said, the modified plan would

 24 decrease what the master trust receives face value of

 25 defaulted loans by over 25 per cent.              We say “Ouch, Your



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   1 Honor, that’s an adverse change.”

   2                And Ambac would argue also, Your Honor, that all the

   3 securitization trusts are adversely harmed with respect to the

   4 recoveries, Your Honor, the 6.2 million dollar issue.                 The

   5 securitization trusts are, under this modified plan, are

   6 giving up the right to a hundred per cent of cash in exchange

   7 for an unsecured claim of a mystery distribution, and we would

   8 argue, Your Honor, that that is an adverse impact as well.

   9                But the point, Your Honor, is, as long as there is

 10 one class that is materially adversely harmed -- and here they

 11 acknowledge there are three -- then you have to start over.

 12 In particular, Your Honor, you must provide new disclosure.

 13 Ambac in part cites to Concrete Designers and Downtown

 14 Investment Club.        And in fact, Your Honor, Downtown Investment

 15 Club specifically rejected what the plan proponents are

 16 requesting here, is that their 1127 motion to modify the plan

 17 suffice as a disclosure.           That was denied.

 18                 The plan proponents do not cite to any case

 19 whatsoever, Your Honor, where an adverse change occurred and

 20 new disclosure was not required.             You’ll be the first if you

 21 grant that motion.         In all their cases, there was no adverse

 22 change.        The change was insignificant.        Solar King,

 23 insignificant.        Temple Zion, in fact the creditor impacted

 24 there was being paid in full.            You’ll be the first, Your

 25 Honor.


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   1               Indeed --

   2               THE COURT:    And that won’t be the first time.

   3               MR. KAPP:    That won’t be the first time?

   4               THE COURT:    That I was the first.

   5               MR. KAPP:    Well, you know, someone’s got to go

   6 first, Your Honor.

   7               And, Your Honor, the plan proponents now argue, they

   8 don’t dispute those cases, they now argue that additional

   9 disclosure is not necessary where the affected creditors have

 10 been active in the case and are aware of the changes.                  Both

 11 Mr. Glosband and Mr. Sternklar made that point.

 12                They cite to two cases for that proposition,

 13 Sherwood and Temple Zion.           But again, Your Honor, both of

 14 those cases deal with an insignificant, immaterial change.

 15 They cite as much with respect to Sherwood, and Temple Zion as

 16 I stated, Your Honor, the impacted party was being paid a

 17 hundred per cent in full.

 18                Once again, there are no cases where additional

 19 disclosure was not required where a creditor was adversely

 20 impacted.

 21                And, Your Honor, disclosure is necessary.             The

 22 disclosure statement was primarily prepared last winter and

 23 January of this year.          It contemplated that the plan would be

 24 confirmed by June 30.          Well, here we sit, Your Honor, in the

 25 middle of July, and we’re not confirmed.               Facts have changed


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   1 and need to be updated.         Particularly, Your Honor, what about

   2 the cash?      You know, I wanted my cute little quote.             I’m

   3 basically, from Jerry McGuire, you know, “show me the money,”

   4 Your Honor.      But we need to know what’s going on with the

   5 cash.

   6               The disclosure statement contemplated that a

   7 recovery of unsecureds between 40 and 60 per cent, and that at

   8 least 36 million would be on hand at the effective date.

   9 We’re six to seven months later, Your Honor.               How is that

 10 projection looking?         How much cash is still on hand?           How much

 11 does the company have?          We need information, Your Honor.

 12                The plan proponents’ professionals have not filed

 13 any fee applications in this case since last year.                 Monthly

 14 operating reports are not publicly available on the docket.

 15 All creditors, Your Honor, are entitled to know how much has

 16 been spent to date so they can reasonably assess whether to

 17 believe the plan proponents’ projections now, today, as we sit

 18 in July, as to what recovery they will receive, Your Honor.

 19 We’re no longer in -- there won’t be a plan effected by June.

 20 We’re not in last winter.           It’s a new -- we’ve moved on, we

 21 need to update the disclosure.

 22                And, Your Honor, that is relevant.           We do want to

 23 know what the recovery is.           We have no idea how much cash is

 24 still on hand.        And as it is a pot plan, we realize that, all

 25 right, it may be less than 40 per cent, but we should know.



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   1 We should reset it.        The information is stale and it’s old.

   2 And they don’t dispute that.           They just don’t want to tell

   3 you.     But we want to know.       And we believe we’re entitled to

   4 know, Your Honor.        And we believe we’re entitled to know under

   5 1125.

   6                Likewise, Your Honor, the Proveaux case makes clear

   7 that if a material adverse change occurs, all impaired classes

   8 should be re-solicited and have an opportunity to re-vote.

   9 The only cases the plan proponents cite to, once again, Your

 10 Honor, they only concern whether the proposed change is

 11 immaterial.

 12                 So after a new disclosure statement and a hearing,

 13 the plan must be solicited, and the impaired classes must have

 14 a right to vote.

 15                 And, Your Honor, just with respect to that, as I

 16 stated, Ambac has been trying to get out of this case for over

 17 a year.        It really doesn’t want to delay confirmation any more

 18 than we have to.        We would love to get our hands on the

 19 pledged accounts that the securitization trust settlement

 20 provides.       However, Your Honor, and we would love not to have

 21 to go through the cost of going through this again.                  But there

 22 are consequences to the actions.             And if the plan proponents

 23 seek to modify, then they have to restart the disclosure

 24 solicitation and confirmation process because here, classes

 25 are adversely harmed.          And they cite to no case law to the


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   1 contrary.

   2               Finally, Your Honor, objections to the confirmation

   3 of the modified plan can’t be limited in scope as the plan

   4 proponents suggest.        We cite Temple Zion and Dean Hardwoods

   5 for that proposition.         The modified plan must satisfy 1129 on

   6 its own merits, Your Honor.          The Court is of course free to do

   7 what it wants to with those objections, but objections can’t

   8 be based on an old finding with respect to an old plan.                  The

   9 new plan must be held to the standards of 1129.               They cite to

 10 no relevant cases in support of that contention, Your Honor.

 11 They cite to three cases.           Two of them aren’t even 1127 cases,

 12 Your Honor.

 13                The third case is Attila Golf (phonetic) which one

 14 again, although it mentions 1127, it certainly doesn’t stand

 15 for the proposition that you can hold an impaired creditor to

 16 old findings with respect to confirmation of a new plan.                   All

 17 it did, Your Honor, was in Attila Golf, the debtors’ plan

 18 wasn’t confirmed.         A competing plan was confirmed.          The debtor

 19 refused to comply and do actions under that plan, and instead

 20 it filed an 1127 motion to amend the plan.               ]

 21                The Court said, “Well, wait a minute, we’re in a

 22 gray area, 1127 was never meant to be a legislative tool,” and

 23 therefore they didn’t quite know what to do.                 They did allow

 24 the 1127 motion to go forward, and at the same time they

 25 compelled the debtor to act, and they noted that because they


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   1 compelled the debtor to perform under the plan, their 1127(b)

   2 motion would be substantially mooted.

   3               But none of that stands for the proposition that the

   4 plan proponents cite for in their brief, that somehow we

   5 should be bound to prior findings, Your Honor.               And there is

   6 no case law that says that.

   7               So finally, Your Honor, in addition, we do believe

   8 additional disclosure is needed.            Such info is set forth in

   9 detail in our objection.          And we would ask, Your Honor, that

 10 such disclosure be required, and that if it’s not addressed,

 11 that Ambac have a right to object in an 1125 hearing to such

 12 disclosures.

 13                The information set forth in four general

 14 categories, Your Honor:          One is cash.      Two is maintenance of

 15 the pre-petition defaulted loans if the securitization trusts

 16 opt out.       Your Honor provides -- we argue that we have a

 17 security interest.         They have obligations to assure and to

 18 protect that security until we figure it out.                The plan

 19 currently provides that the defaulted loans will perhaps be

 20 maintained for 90 days, but nothing after that point.

 21                We would like some disclosure to be assured that our

 22 pre-petition defaulted loans are protected if a securitization

 23 trust does opt out.         We think that’s only reasonable.

 24                And, Your Honor, given another category, given all

 25 of the hoopla over who’s getting what on the pre-petition



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   1 defaulted loans, we do think that chart in the disclosure

   2 statement to avoid all doubt should be updated to set forth

   3 and separate for every single securitization trust who’s

   4 getting what.       It’s in bits and pieces in the motion.            It’s

   5 not set forth in one place.          Given all the confusion that

   6 we’ve had in the last year and a half, we don’t think it’s

   7 unreasonable or a waste of time to put it in one place so

   8 everyone’s on the same page.

   9               And finally, Your Honor, there are several

 10 unsupported contentions in their motion.               They state just off

 11 the hand with no back-up that the unsecured claims aren’t

 12 impacted, maybe they’re diluted by 1.1 per cent.                 There’s no

 13 affidavit from their financial advisor, there’s no underlying

 14 support.       We don’t think that’s unreasonable.           We think it

 15 should be required.

 16                Similar, they talk about the pre-petition defaulted

 17 loans that were purchased using another source other than

 18 securitization funds.          It’s very general, Your Honor.          We do

 19 believe more detail to the extent that some can be provided,

 20 we’re happy to work with the plan proponents but we do believe

 21 that some disclosure is needed for those areas.                And we don’t

 22 believe as Mr. Sternklar said that it’s unduly burdensome.

 23                And then finally, Your Honor, although ignored by

 24 the plan proponents, we do have three problems with the

 25 proposed order, and I do want to set them forth and I don’t



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   1 want them to be ignored.

   2               One, Your Honor, we believe that the requirement

   3 that in order to change your vote, you have to have a copy of

   4 your previous ballot is unduly burdensome.              That wasn’t

   5 required in the original procedures.             It shouldn’t be required

   6 now.     Moreover we note there’s been lots -- there has been

   7 trading on these bonds.         If you bought after the first go-

   8 around, you wouldn’t even have access to that ballot, the

   9 original ballot.       So we believe that requirement should be

 10 deleted.

 11                We also note, Your Honor, that the proposed order in

 12 paragraph 90 sets forth what, in order to change your vote,

 13 the steps you have to meet.           If you meet those steps, Your

 14 Honor, that should be enough.            The plan proponents contain the

 15 right in their sole discretion to determine, in paragraph 6(c)

 16 that even if you meet all those requirements in 9(d) somehow

 17 your ballot can be ambiguous.            We think, Your Honor, at most,

 18 at least that’s duplicate and at most once again it’s unduly

 19 burdensome.       If you meet all the requirements of 9(d), there

 20 shouldn’t be any doubt as to whether you want to change your

 21 vote or not.

 22                And finally, Your Honor, paragraph 10 of the order.

 23 We’re not even sure what it means, but it seems to change the

 24 contractual relationship between the Indenture Trustee and

 25 Ambac under its indentures.           And we would seek that that is



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   1 inappropriate and we would ask that that provision be deleted

   2 too, Your Honor.

   3               So thank you for your indulgence, Your Honor.              Just

   4 to recap, we would request that the motion be denied, as it

   5 does not -- circumstances do not warrant it under 1127(b).                  If

   6 this Court determines that the motion should go forward, we

   7 would argue because there has been an adverse change, we have

   8 to restart the process, new disclosure, a disclosure statement

   9 hearing, solicitation with the right for all impaired

 10 creditors to re-vote, and you can’t be bound, Your Honor, by

 11 prior -- by prior findings.           Objections against the new plan

 12 should be able to be heard and shouldn’t be limited in scope.

 13                We also ask for a finding that the securitization

 14 trusts are adversely harmed.            At least, Your Honor, the Ambac

 15 trusts, and we would ask that the confirmation order be -- I’m

 16 sorry, that the proposed order be revised as we request, and

 17 we’d ask for the disclosure as we set forth.                Thank you, Your

 18 Honor.

 19                THE COURT:    I’m trying to figure out whether to take

 20 a break now or a little bit later.             How many other counsel

 21 expect to make remarks?

 22                Okay.    So we’ll take a five-minute break.

 23                        [Off the record at 2:39:29 p.m.]

 24                                 * * * * * * * *

 25                        [On the record at 2:47:34 p.m.]



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   1               MR. REYNOLDS:      All rise.

   2               THE COURT:      Please be seated.         Go ahead.

   3               MR. PEDONE:      Good afternoon, Your Honor.         Richard

   4 Pedone on behalf of U.S. Bank as Indenture Trustee.                U. S.

   5 Bank is the Indenture Trustee for the series of

   6 securitization trusts identified in our objection.

   7               The Indenture Trustee’s position that the order --

   8 that en order confirming the plan that this Court conducted a

   9 trial on should enter and bring the case to a resolution.

 10 That plan as a pot plan is, in fact, confirmable.                 You’ve

 11 heard evidence concerning its feasibility, and that is --

 12                THE COURT:      Your -- your brother says that if I

 13 confirm the plan, then it must fail because he says that

 14 1129(a)(11) can’t be met because they’re out of cash and that

 15 -- and he bases that on what Mr. Glosband said.

 16                MR. PEDONE:      Well, Your Honor, if we go back to

 17 the testimony at that trial there were several pots of cash

 18 for TERI to continue going forward as an operating concern.

 19 There’s a big pot of millions of dollars of charitable money

 20 that would allow TERI to continue forward with it’s

 21 charitable mission.         Maybe it can’t continue to pay the same

 22 salaries to executives and do everything they would like in

 23 support of their charitable mission, but there’s testimony

 24 that --

 25                THE COURT:      Then on the date of -- well, but I



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   1 took -- I, I, I apologize for interrupting you.

   2               MR. PEDONE:      That’s okay.

   3               THE COURT:      I, I took testimony --

   4               MR. PEDONE:      Yes.

   5               THE COURT:      -- and the testimony was based on both

   6 the charitable admission and the fact that, if I’m

   7 remembering this correctly, that before TERI ended up in a

   8 situation in which it was going to be very, very badly hard

   9 pressed for cash, it was going to advertise itself as a

 10 superior student loan collection group.

 11                So are you -- are you saying that -- that I’ve got

 12 enough testimony to lead me to believe that TERI can function

 13 as a -- as a charitable -- charitable organization only?

 14                MR. PEDONE:      I believe you can, Your Honor, and

 15 we’re in the realm, if you look at that transcript, we’re in

 16 the realm of a charity, and -- and what makes a charity

 17 feasible, when we’re talking about a few million dollars,

 18 whether it’s three or six or whatever our number is, it will

 19 be left behind for the charity versus distributing millions

 20 and millions, tens of millions, perhaps even over hundreds of

 21 millions, if you consider the pledge accounts, to the secured

 22 creditors.

 23                The entire combination is what this plan is about.

 24 It’s distributing the assets and what makes it feasible.

 25 Achieving a particular level of dream that the Board may have



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   1 for the level of charitable function for this charity in --

   2 in good deeds, the Court can’t look at their view of what

   3 they want as what makes the charity going forward feasible.

   4 If you look at what I believe you said you should look at,

   5 which is, will the debtor at the hearing, will the debtor

   6 return to the Court, and -- and I submit that there’s

   7 evidence in the record that, with its charitable funds to

   8 perform a mission, TERI would not need to return to this

   9 Court, and --

 10               THE COURT:       But haven’t I, if -- if you’re going

 11 to take the position that the words that I used are

 12 themselves somehow deemed to be confirmation, and didn’t

 13 those words also include my reliance on other functions that

 14 TERI was going to be able to perform in order to assure the

 15 fact that 1129(a)(11) was going to be met?               So how do I --

 16 how do I now cut that one out?

 17               MR. PEDONE:       Yeah.    I guess, Your Honor, where I

 18 would start is, I would take the black and white language of

 19 the plan that you had before you, and if you read it where

 20 things were going, it was crystal clear.               And I would say you

 21 could even take the chart and the disclosure statement that

 22 makes it clear where the defaulted loans go to my client, a

 23 chart I -- not my clients, but go to the trust of which my

 24 client is the Indenture Trustee that they issued.

 25               If you look at that chart, it’s clear where the



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   1 money goes.      If you look at the -- this -- the plan, which is

   2 really a contract that the creditors voted on and it’s a

   3 settlement the creditors voted on, it’s clear what happens

   4 here, and that’s what you confirmed, was that plan, and

   5 they’re back here now trying to change that.               And on the

   6 continuum of steps towards entry of the confirmation order,

   7 which is a ministerial act, I would submit that all that

   8 remains here is that ministerial act.

   9               THE COURT:      Yeah, I wish it was a ministerial act,

 10 but what’s usually given to me is a, in cases of this size,

 11 is a 40 to 50-page document that I then have to ask you send

 12 to me in Word form so that I can take out those provisions

 13 that I don’t like, and -- and sometimes I’ve had to have

 14 hearings with respect to particular provisions.                It doesn’t

 15 feel ministerial to me.

 16                MR. PEDONE:       I -- I appreciate that and I’ll

 17 concede that it was dozens of pages that were circulated and,

 18 or more than a dozen pages where the form of order circulated

 19 among the parties; but I think you have a black and white

 20 plan before you that if you entered confirmed could be

 21 enforced to achieve what was at least the intention on this

 22 side of the room, what their intentions were, they -- they’ve

 23 stated them, and I’ll accept that that’s what their

 24 intentions were for this hearing.

 25                So that’s our position with the Indenture Trustee



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   1 request.     I realize that’s not the direction the Court may be

   2 leaning at the moment, but we do believe it could occur and

   3 it is, in fact, a ministerial act because you’ve held the

   4 confirmation hearing, you made the finding, and had you

   5 written “confirmed” on the docket, we would have everything

   6 we need for the case to be truly complete.              Perhaps not.      I

   7 believe it would actually end up consummated, as that term

   8 would be used, because it is primarily a pot plan with

   9 distribution.

 10               What I want to emphasize, Your Honor, after having

 11 made that point is that this plan was settlement.                 This plan

 12 had provisions in it to settle a very, very -- a pair of very

 13 complex disputes.         When you read the plan memorandum the

 14 debtor’s discussed submitted for the plan, the debtor’s

 15 discussed that the settlements form the foundation of the

 16 plan.

 17               Ms. Bizar’s affidavit stated the same thing.              Mr.

 18 Peko’s affidavit goes on for pages about the settlement.                   Mr.

 19 Renzi’s affidavit goes on for pages about the settlement.

 20 You heard today that the debtor and the Committee described

 21 the settlement.        You also heard from the debtor and the

 22 Committee that the plan was an offer put out to the creditors

 23 for acceptance.

 24               And then what you’ve heard and what you’ve seen is

 25 that a new settlement is being put out with no provision for



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   1 acceptance of that new settlement by the parties.                What they

   2 say is certain people can change their vote, but that isn’t

   3 actually going to result in an acceptance of the settlement.

   4 It will end the litigation in this case.              So that we need to

   5 step back and remind ourselves that the two important pieces

   6 that we’re actually settling.

   7               First, there’s the decoder in this case.            If you

   8 recall the securitization trust and a lot of other creditors

   9 had guarantee claims against TERI totaling billions and

 10 billions of dollars that I would submit run up in terms of

 11 complexity for calculating might compare with the most

 12 complex asbestos cases, or -- or other complex cases.

 13 Because to determine what the guarantee claim would be in

 14 virtually all parties, I think all parties filing these

 15 claims filed claims for the full amount of the outstanding

 16 loans that they might someday call upon TERI to guarantee.

 17 Well, those needed to be present valued and for the Court to

 18 decide on a trust-by-trust basis, you actually have to look

 19 at the loans and say, “Well, when were the loans made?                  How

 20 much is outstanding?         What’s the payment history?          Who made

 21 those loans?”        And to figure out on a deal-by-deal basis what

 22 the actual claim should be for distribution purposes.                  You

 23 either need to hold a trial and estimate them, or you need a

 24 compromise to settle them.

 25                And the decoder that you’ve heard a lot about was



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   1 rough justice that the parties had a lot of discussions about

   2 that TERI and the Committee went back and forth on, FMDS

   3 weighed in on it, the Indenture Trustee watched the process,

   4 and out of it came a method for determining claims, and other

   5 unsecured creditors participated.            Out of it came a decoder

   6 that achieved a rough justice for taking billions of dollars

   7 of claims, estimating them, arriving at claim numbers that

   8 could be used to divide up the relatively small money that

   9 TERI has -- TERI has available for distribution.

 10               In the absence of a compromise accepted by

 11 creditors, you’re left with litigation that could take days

 12 and days, if not weeks and weeks or months, and an extremely

 13 high cost to resolve.

 14               So what I most emphatically want to emphasize is

 15 the procedure and process that comes out of this hearing has

 16 to be a method for affirmative acceptance of the settlement

 17 and the plan.        Perhaps 1127 allows the -- a plan to be

 18 amended and sent back only to people the Court determines are

 19 adversely affected, but I would say if you want an settlement

 20 that would be enforceable, you actually have to go through a

 21 re-solicitation process and that TERI and the Committee

 22 should want the holders, and certainly the subsequent plan

 23 Trustee should want the holders who can then direct each

 24 trust to accept the settlement, or reject the settlement.

 25 And if you get an accepted settlement and a process that



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   1 works under each trust Indenture documents and of the

   2 governing documents, which we believe the plan procedures --

   3 solicitation procedures did, then you can bring finality to

   4 the case.

   5               Otherwise, if you don’t have procedures for

   6 settlement that work and acceptance of the settlement that

   7 get built into this plan, we’ll be left with litigation.                  And

   8 I think it’s undisputable that if enough trusts do not accept

   9 the plan, we won’t have a confirmed plan.              We’ll be back here

 10 with the debtors saying that they can’t afford ongoing

 11 litigation, or the debtor -- Committee saying they can’t

 12 afford ongoing litigation, because this -- this case and the

 13 consensual resolution and the reason that everybody voted for

 14 it was that it was a settlement in principal, a settlement

 15 that required some complex procedures to get acceptance by

 16 the trust.

 17                But you know what?      We got there.      And it could

 18 happen again.        In the short-cut rough justice, it’s

 19 complicated, even with the concession that it go out to all

 20 trusts, it can’t do it in 30 days to get them all back and

 21 have voting by August.          The Indenture Trustee would like

 22 procedures substantially similar to those used for initial

 23 voting be used again.

 24                The other piece of the settlement here is the

 25 settlement of the perfection litigation, and I believe the



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   1 pleadings that this Court has heard and the motion to dismiss

   2 on that speak clearly that that in itself is complicated and

   3 results in a complicated resolution.             I’d submit it’s so

   4 complicated that the plan drafters couldn’t get it right the

   5 first time that they drafted the plan to reflect their

   6 intentions.      And that settlement of the perfection also needs

   7 to be blessed by those who could be on the other side

   8 settling, which is each trust.

   9               Your Honor, Mr. Kapp described for Ambac the

 10 reasons that the various pieces of the modifications are, in

 11 fact, adverse to each trust, and I would like to echo that.

 12 But what I’d like to emphasize is, they’re adverse because

 13 they changed the settlement.           They impact the timing of when

 14 the cash may flow out on the pledge accounts, but they also

 15 result in taking cash from each securitization trust and

 16 substituting cash paid on the effective date, according to

 17 the black letter terms of the plan, and replacing it with a

 18 payment stream from a certain amount of defaulted loans based

 19 upon an estimation that the plan proponents have come up

 20 with.      Swapping cash for an uncertain payment stream is an

 21 adverse change and that alone, it dictates that this is

 22 effectively a new plan and a new settlement that needs to be

 23 voted on by each securitization trust.

 24                Your Honor, with regard to the procedures, I’d also

 25 submit that the debtors recognize the complexity of obtaining



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   1 approval of the settlement and the plan from each

   2 securitization trust when they filed their initial plan

   3 solicitation procedures and motion for approval of the

   4 disclosure statement.         They laid out in there the complexity.

   5 They articulated the complexity of the confirmation hearing.

   6 In connection with approval of the disclosure statement and

   7 the plan solicitation procedure, this Court then entered an

   8 order, an order directing that certain procedures be used.

   9               I would argue that the debtors and the Committee

 10 should be judicially estopped from now attempting to utilize

 11 different procedures in connection with either this plan or

 12 any subsequent plan, and that what should happen as a

 13 practical matter if the Court is not inclined to confirm the

 14 plan is they should be directed to sit down with the parties

 15 in interest, take the old procedures, and adopt them to these

 16 circumstances to provide sufficient due process.                 And this

 17 is, in effect, a -- a due process issue, Your Honor, not just

 18 a judicial estoppel or practical issue.

 19                TERI contracted with securitization trusts, and

 20 that was a -- a large part of its business.                 They knew when

 21 they contracted with the securitization trusts that those

 22 trusts would then go and pledge their interests and TERI’s

 23 guarantee any payment stream to the Indenture Trustee on

 24 behalf of note holders.          TERI, as part of its business and as

 25 part of a huge revenue stream that led to some of the money


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   1 that’s to be divided up today, entered into contracts with a

   2 party that was difficult to contract with, or change the

   3 contract with at a later date, or as we are here settle with

   4 at a later date.

   5               Mr. Sternklar said, “Who speaks for the trusts?”              I

   6 hope he was being facetious because he’s at -- he’s had

   7 access to the trust documents and knows the complexity of the

   8 situation, and we’ve sat through hours of meetings where it’s

   9 been explained.       We have a procedure in those earlier

 10 procedures orders that will allow a settlement to become

 11 enforceable and we should stick with those procedures.

 12                Your Honor, it -- a point in the reply that debtors

 13 made reference to, the cost of utilizing these procedures as

 14 potentially being too high in -- in resoliciting, I’d submit

 15 that the cost of not entering into a settlement and being

 16 back here litigating either perfection issues, or the other

 17 issues concerning the decoder in the fall would be far

 18 greater, and if the Court isn’t inclined to compel the

 19 debtors to utilize procedures satisfactorily, or at least as

 20 good as those used before, that they offer evidence on the

 21 counter-balance and costs.

 22                Your Honor, another point on the material -- excuse

 23 me, on the adverse impact, is the withdrawal of the

 24 exculpation with FMDS.          FMDS is a contractual party with each

 25 of the securitization trusts.            To the extent that finality is



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   1 not brought to the trust litigation, then the deal that the

   2 securitization trusts voted on is not what was initially

   3 offered in the plan, and so that exculpation is an important

   4 -- the removal of that is an important material change, and

   5 the Indenture Trustee’s preference would be that it be put

   6 back so that any settlement either, if it’s enforcing the one

   7 that has been reached, or it’s in connection with a

   8 resolicitation process, bring finality.

   9               Your Honor, another material issue is the 6.2

 10 million dollars.        In fact, there is a claim that that is

 11 collateral of the various securitization trusts, and any plan

 12 that goes out in order to meet the requirements of 1129 will

 13 actually have to provide for the segregation of that fund,

 14 those funds, until either the trust with a particular

 15 interest in it accepts the -- a settlement, or litigation

 16 with that trust has been determined.

 17                So we may have an issue of TERI standing here today

 18 saying that they need that money in connection with any plan,

 19 or their modified plan, because those funds may, in fact, not

 20 be available.        To meet 1129, that money will need to be

 21 segregated.

 22                Finally, Your Honor, I’d like to address the

 23 disclosure issue.         I don’t think that any ordinary investor,

 24 or any even sophisticated investor could take the old

 25 disclosure statement, to take TERI’s motion to modify, to



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   1 take the objections and take the reply and quickly cut

   2 through and understand what -- what is going on here, what is

   3 the likelihood that TERI will survive and go forward and                  the

   4 plan will be consummated, and exactly what they will be

   5 receiving.      We need a real disclosure statement in this case

   6 that should go out.

   7               And I would submit that, notwithstanding the

   8 discussion in some cases that you might not need a full

   9 disclosure statement, this is a statutory issue; and I’d

 10 submit that none of the cases that have ever been decided on

 11 a 1127 fit within the parameters of the facts that before

 12 that you have -- that are before you, and that 1127(c) is

 13 unequivocally clear when it says,

 14                “The proponent of a modification shall comply with

 15                Section 1125 of this Title with respect to the plan

 16                as modified.”

 17                Any modified plan by the pure black letter language

 18 in the Code needs a complete disclosure statement that, one,

 19 explains what has gone on before touches on the issues that

 20 Mr. Kapp raised and the issues in the other parties’ papers.

 21                Finally, Your Honor, in addition to giving each

 22 securitization trust the opportunity to accept the settlement

 23 and the plan, all parties in interest, including any note

 24 holders, and they would be parties in interest in this case,

 25 need the opportunity to come in and object on any modified



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   1 plan on all grounds.        And essentially what I’m saying, Your

   2 Honor, is, this case with modifications, this material, I

   3 believe, requires that essentially we start the process over

   4 and get it right to bring finality to it.              Thank you.

   5               THE COURT:      Thank you.

   6               MR. JENKINS:      Thank you, Your Honor.        Dennis

   7 Jenkins of Wilmer/Hale, again for the First Marblehead

   8 Corporation and First Marblehead Education Resources, Inc.

   9               Your Honor, I’d -- I’ll start first by addressing

 10 the standing issue raised by the plan proponents.                 The -- to

 11 be clear, First Marblehead has not filed an objection on

 12 behalf of the securitization trusts.              Perhaps the plan

 13 proponents misunderstood the objection, but the whole point

 14 of the objection is that First Marblehead believes that this

 15 modified plan is, in fact, worse for general unsecured

 16 creditors than the existing plan.

 17                In addition, Your Honor, with respect to the

 18 standing issue, the plan proponents have made a number of

 19 disclosures that are either false or inaccurate or misleading

 20 that involve First Marble head.            So with respect to

 21 disclosure issues, they actually invited us to comment on --

 22 on those aspects of the disclosure.

 23                But before I get precisely to how the economics of

 24 this modified plan adversely affect the creditors, let me

 25 address first a couple of other reasons why First Marblehead



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   1 as an unsecured creditor remains interested in this case.

   2               First -- as -- as -- as counsel suggested, First

   3 Marblehead is an unsecured creditor in this case.                It had a

   4 large unpaid balance due of roughly eleven million at the

   5 commencement of this case and has rejection damages and other

   6 damages that’s asserted in excess of 80 million, making it

   7 one of the largest, if not the largest general unsecured

   8 trade creditor in this proceeding.

   9               But First Marblehead has also remained involved in

 10 this proceeding in part because TERI made a decision at the

 11 beginning of this case to bring in-house many of the services

 12 that it previously out-sourced, and at that time it -- in

 13 June 2008, First Marblehead rejected its agreements with --

 14 or TERI rejected its agreements with First Marblehead.

 15                And as -- as -- in connection with that rejection,

 16 First Marblehead entered into a transition services

 17 agreement, and pursuant to the order that approved that as

 18 well as related transactions, First Marblehead has remained

 19 as a manager of collections for approximately half a billion

 20 dollars of defaulted student loans in which the

 21 securitization trusts claim a security interest and which

 22 remains subject to the trust adversary proceeding.

 23                So First Marblehead’s involvement in this has been

 24 somewhat unique because it is one of the largest creditors,

 25 and also because it has remained to maintain the -- and



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   1 maximize the value of those assets as a manager of the

   2 collections on those loans.

   3               First Marblehead is -- is not on the Committee.

   4 It’s not a plan proponent.          It didn’t draft the plan, it

   5 didn’t draft the disclosure statement, and none of its claims

   6 are settled in the plan, but it does have specialized

   7 expertise and knowledge regarding the student loan industry

   8 that it has -- that it has attempted to lend to this

   9 proceeding from time to time to help expedite proceeding and

 10 bring it to closure through a plan of reorganization.

 11                Again, as I mentioned at the beginning of this

 12 case, First Marblehead had agreed to a transaction services

 13 agreement for 60 to 90 days as recent as the confirmation

 14 hearing.       The debtor reminded the Court that that saved this

 15 estate tens of millions of dollars.             It eliminated costs that

 16 were running approximately eight to 16 million per month.

 17 The debtor has continued to manage the collections of the

 18 loans subject to the trust adversary proceeding.

 19                In addition, there is a section of the plan,

 20 Section 6.3®), pursuant to which First Marblehead has agreed

 21 to continue managing those collections for 90 days after the

 22 effective date of the plan.           When asked by the Committee to

 23 sit on the trust, the Plan Trustee Advisory Committee, First

 24 Marblehead agreed.         Now it seems they don’t want First

 25 Marblehead to sit on that Committee, which is fine, First



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   1 Marblehead does not object.          It does note that it is peculiar

   2 that the conflict -- the conflicts that they mentioned are

   3 conflicts with the trust, that that Committee should be

   4 representing the securitization trusts.             In fact, to remind

   5 Your Honor, the securitization trusts represent more than 60

   6 per cent of the general unsecured claims in this proceeding.

   7               First Marblehead had not objection to confirmation,

   8 and as recent as last night again filed a limited reply in an

   9 attempt to help this proceeding along, Your Honor.                And I

 10 think it makes sense to stop here again and -- and review

 11 what data First Marblehead agreed to provide in the past what

 12 it agreed in this reply to provide again.

 13                When the -- when First Marblehead agreed to the

 14 trust -- to the transaction services agreement, that -- at

 15 that time all the contracts with First Marblehead were

 16 rejected.       First Marblehead agreed to provide data regarding

 17 the recoveries, regarding the -- the defaulted loans to TERI.

 18 In a letter from Amy Bizar, the Senior Vice President, and

 19 she’s General Counsel to TERI, they confirmed that they

 20 received that data regarding those recoveries and the

 21 defaulted loans.        Again, here today, Mr. Glosband confirm

 22 they have that information.

 23                First Marblehead also provides ongoing monthly

 24 reporting details regarding the recoveries collected by the

 25 various collection agencies during the prior month.                 An



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   1 important point here is, Your Honor, First Marblehead does

   2 not collect cash and move it.           All of the cash is sent

   3 directly from the various collection agencies directly to

   4 First Marblehead who then tracks that money through its

   5 accounts, but each month it -- First Marblehead provides

   6 updated reports.

   7               In addition, as a part of the transaction services

   8 agreement. First Marblehead provides to TERI access to its

   9 recovery management system, which provides loan-level

 10 information regarding all of these loans to TERI.

 11                Today, it -- we heard for the first time -- Well, I

 12 should back up.        When -- when we saw the reply, I spoke with

 13 First Marblehead and we had no idea what information they

 14 still needed in order to allocate the recoveries.                 We talked

 15 internally and said we think they have everything they need,

 16 filed a reply last night, which is really an offer to provide

 17 it yet again, and we heard today that all they lack is

 18 information regarding the allocation of costs which amount to

 19 approximately $500,000.

 20                As recently as June 14th, Mike Meady (phonetic) of

 21 First Marblehead provided that information to Eileen Morris,

 22 of First Marblehead, and does provide it from time to time.

 23 We believe they have all that information up through June

 24 14th.     We’re not sure if they just haven’t asked internally

 25 the people who received it, but First Marblehead is -- is



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   1 willing to provide what it has.           Again, we were surprised to

   2 hear that they believe they don’t have something.                Again, we

   3 believe it’s been provide -- provided.

   4               So First Marblehead is here with a fairly unique

   5 perspective because it is a creditor and has been watching

   6 this case rather closely as continuing claims manager of all

   7 the various defaulted loans subject to the trust litigation,

   8 Your Honor.      But all that -- all that said and putting aside

   9 what everyone thought the plan said, based on the information

 10 provided by plan proponents regarding this modified plan,

 11 after considering all the increased costs and the risks, the

 12 modi -- First Marblehead believes the modified plan adversely

 13 affects unsecured creditors.           If -- if this Court is going to

 14 allow the modification to move forward, it believes that

 15 there is much more disclosure that needs to be provided, and

 16 that all parties should have the opportunity to object.

 17                First, Your Honor, with respect to the economics,

 18 the -- there’s two pieces of this here, and the entire

 19 modified plan is premised upon taking these disputed

 20 recoveries and the disputed loans, putting them back into a

 21 pot which the plan proponents then say will be returned as a

 22 -- as part of pro rata distributions to creditors.                 They

 23 include, to be clear, the -- with respect to the 6.2 million

 24 in cash, this 6.2 million in cash that they were talking

 25 about represents recoveries on pre-petition defaulted loans.


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   1 As counsel has already explained today what the plan provided

   2 was, there would be a split of these pre-petition and post-

   3 petition defaulted loans.          The pre-petition defaulted loans

   4 and the recoveries on them would go to -- to the

   5 securitization trusts.

   6               As Mr. Pedone just pointed out, the trusts do claim

   7 a security interest in that 6.2 million in cash.                So if the

   8 trusts are to opt out of this new settlement, presumably that

   9 cash will need to be segregated, pending a resolution of the

 10 litigation of their claims.

 11                So the -- the plan proponents actually provide a

 12 new disclosure that -- that we had not heard before, the

 13 reply, and was a bit surprising that -- that the 6.2 million

 14 dollars in cash is necessary to provide cash with the debtor

 15 under its plan so it can perform it’s non-college access

 16 business.

 17                What does this mean really?         The plan has condition

 18 to its effective date that there be 36 million dollars of

 19 available cash coming back to the plan trust.                What I think

 20 we just heard is that they will not meet that 30 -- 36

 21 million dollar threshold under the plan.               The way the plan

 22 works is, if they don’t meet that 36 million dollar

 23 threshold, the Committee can nevertheless go forward and dip

 24 in and take the 3.4 million of cash from the debtor under the

 25 plan.



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   1               What I -- what it appear -- what they appear to be

   2 saying is, they do not have enough cash now to hit that 36

   3 million dollar threshold, and that this cash that they need

   4 -- they are requiring now actually will go to TERI.                So up --

   5 what -- up to 3.4 million dollars of the 6.2 that is not

   6 coming back to creditors is, in fact, going to TERI to fund

   7 this aspect of its business, not the college access non-

   8 profit fees, but this new business that has been building

   9 over the last two years.

 10                This -- this was precisely the issue that concerned

 11 counsel just before the petition date -- before the

 12 confirmation hearing, Your Honor.             As we lay out in our

 13 pleadings, in early April when we were reading the plan, we

 14 could not tell from the disclosure statement how the

 15 accounting for cash was being done, and we did not know how

 16 the 6.2 million fit in.          Mr. Pedone, and I called Mr.

 17 Glosband and said, “We read the plan to say that this 6.2

 18 million comes back for the securitization trusts; we want to

 19 make sure that you reserved that cash.”              We wanted to avoid

 20 precisely this issue where they came back and claimed that

 21 they did not have all the cash that they thought they had.

 22                In addition, Your Honor, it appears that almost 6.2

 23 million of this additional benefit that they’re seeking will

 24 not go to creditors; it will, in part, go back to TERI, and

 25 it looks like the -- the rest of any portion of the 6.2



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   1 million benefit to creditors they claim available will

   2 actually be eaten up in the costs of going through this

   3 process.

   4                 Why do I say that?    In part because it affects the

   5 trusts, Your Honor, and I don’t raise this to argue for the

   6 trusts.       I raise it because I think this increases the

   7 likelihood that trusts opt out of the settlement in the

   8 modified plan and decide to litigate.             So if you go to their

   9 Exhibit F, Your Honor, that they’ve included with their plan,

 10 what this says, let’s take the trust 2005-1, for example.

 11 They say here that that trust will lose 812, roughly,

 12 thousand of these recoveries.            In return, it will get

 13 $812,000, plus an additional $100,000 over the next ten years

 14 in back-end distributions.

 15                  On its face, what they are saying is you give up

 16 cash now to take claims at the back end.               That seems pretty

 17 clear.         What’s not clear here though and what’s not stated

 18 is, of that 900,000 to be paid over the next ten years, about

 19 460,000 of that comes from these defaulted loans to be paid

 20 out over ten years, and a very small portion, the remaining

 21 portion is what they claim would be the cash, the

 22 proportionate share of the 6.2 million dollars coming back to

 23 that trust.

 24                  Well, we’ve just heard that not all that cash is

 25 coming back to the trust.           It can’t possibly be, if of the



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   1 3.4 million is going to TERI, that all this money is coming

   2 back to the trust.        So this Exhibit F seems to be just wrong

   3 if 3.4 million is going back to TERI and certainly misleading

   4 as to what the trusts get.          When the trusts realized this,

   5 will they be more inclined to opt out?             We don’t know.      But

   6 we do know that of the 6.2 million in cash it’s going to TERI

   7 and will be eaten up in costs.

   8               In terms of costs, Your Honor, this -- this process

   9 is costing, based on the operating reports I’ve seen, about

 10 1.6 million a month.         We are now at a process where this will

 11 take four months and will have eaten up through the benefit

 12 of that 6.2 million dollars.           So as an unsecured creditor,

 13 obviously, First Marblehead is concerned that we are

 14 following a process here that’s going to eat up the benefit

 15 of that cash entirely, or the benefit of that to general

 16 unsecured creditors.

 17                In addition, based on Exhibit F, about 2.9 million

 18 of the disputed recoveries come from just three trusts.                  If

 19 only those three trusts opt out of the proposed settlement

 20 and their funds are then segregated pending a resolution of

 21 litigation, where is the cash going to come that TERI needs?

 22 Certainly, if the rest of the trusts opt out, that’s the real

 23 problem.       But we have no idea going forward now how the

 24 trusts will vote, or whether any of that cash that they’re

 25 claiming will come back will be there.



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   1               So under the circumstances, it appears very likely

   2 that the entire benefit of this additional cash will be

   3 consumed by the modified plan process itself in the delay

   4 inherent in obtaining confirmation.            So from the perspective

   5 of the securitization trusts, I assume they will see this as

   6 they give up cash to pay for the cost of this modified plan,

   7 or to give it to TERI in exchange for larger unsecured

   8 claims, unsecured creditors like First Marblehead will be

   9 diluted by those increased claims and have no corresponding

 10 benefit from that 6.2 million dollars.              That doesn’t seem

 11 like a great deal.

 12                In addition, Your Honor, with respect to the other

 13 piece of this on the disputed loans, this is really the

 14 second piece of the puzzle.           Those disputed loans are loans

 15 that have defaulted already will be meaning that students

 16 have failed to make principal or interest payments for 180

 17 consecutive days, that the borrower has filed bankruptcy, or

 18 the student is dead.

 19                The plan proponents put an estimate on this at 13.6

 20 million dollars present value.            It is entirely unclear how

 21 they come up with that estimate.            We believe that, based on

 22 other estimates the Committee has been looking at, it’s far

 23 less than that.        As a consequence, we think that that value

 24 is much less than they’re saying, but for the sake of

 25 argument, assume that, in fact, the value is at the high end



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   1 at 13.5 million, that assumes none of the additional costs

   2 that could be incurred if trusts opt out of this litigate --

   3 opt out of the settlements.          It completely ignores the

   4 litigation costs of -- of the trust and the delay associated

   5 with this proceeding.

   6               Mr. Kapp and Mr. Pedone have made compelling

   7 arguments for why all of the trusts are adversely affected.

   8 It’s unclear whether they will opt out.             If they do opt out,

   9 there’s -- it’s -- it’s a very complicated piece of

 10 litigation.       It’s only in its initial phases before this

 11 Court, but there’s a few pieces of this litigation.                 There’s

 12 first the claim settlement portion that each trust will then

 13 litigate both the amount of its claim.              There could be

 14 arguments whether the decoder that the Committee proposed is

 15 right, whether there’s a base case right, whether some other

 16 valuation should be used.           That only resolves the amount of

 17 the claim.       Then there’s the separate trust adversary

 18 proceeding that would have to be dealt with for each of these

 19 trusts to litigate its rights to collectively 500 million in

 20 loans.

 21                So if those trusts opt out, what is the cost of

 22 that?      Will creditors see any benefit?          In fact, will they be

 23 worse off by going through this process and having trusts opt

 24 out to litigate each of those things?              We have the proverbial

 25 bird in the hand.         We have all of the trusts accepting



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   1 settlements of very complicated litigation, and we are

   2 trading that for a very small amount of cash which appears to

   3 already from a creditors’ perspective to be gone, and for

   4 defaulted loans that we don’t know the -- the value of those,

   5 but it could be entirely consumed by the -- the litigation

   6 and the process of settling those claims.

   7               To give you a sense of -- of magnitude, the

   8 securitization trusts base claims, put aside the -- the --

   9 the arguments on their collateral, the decoder that the

 10 Committee has built actually values the securitization trusts

 11 claims 36.5 per cent higher than they -- they’re allowed

 12 under the settlement under the plan.              If a trust -- if the

 13 trusts were to opt out of the settlement and everything else

 14 was going to be settled in exactly the same way, the trusts

 15 would come in and say, “We already know that you -- your

 16 decoder allows our claim 36.5 per cent higher.”

 17                If every trust did that and they came back and just

 18 took the same settlement on the lien issues, took the amount

 19 of their claim at 36.5 per cent higher, general unsecured

 20 claim holders are going to be down by about 2.6 million in

 21 estimated distributions to them.            So there is a significant

 22 risk going forward on this as to how that litigation is

 23 resolved and whether creditors, all creditors do

 24 significantly worse.

 25                So, Your Honor, today, First Marblehead is



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   1 objecting because it believes trading this bird in the hand

   2 for the -- the risk going forward is not worth it for the

   3 small amount of money that they are talking about, which we

   4 believe is probably already used up during this process.

   5               Now if Your Honor does decide that this

   6 modification can move forward, then First Marblehead requests

   7 that creditors be provided with adequate and meaningful

   8 disclosure an opportunity to object.             We have laid out a

   9 number of areas where disclosure is inadequate.               I’ll just

 10 touch on a couple of those here again.

 11                First, Your Honor, is the issue of the cash.             We

 12 have heard for the first time today that they may not hit

 13 this 36 million number.          I think Mr. Glosband said that if

 14 the current plan is approved, they would only have at best

 15 case $200,000.        So it appears that we’ve come somewhere from

 16 80 million dollars of unrestricted cash at the beginning of

 17 this case all the way down to somewhere below 33 million.

 18 We’re not sure.        You -- you can’t tell from the disclosure

 19 either what’s in the current disclosure statement or anything

 20 here, where we’re going to be at the end of the -- end of the

 21 day with this cash.

 22                In addition, as Mr. Kapp pointed out, the financial

 23 projections are now quite old.            They assumed numbers and

 24 estimates through April 30th and were built long before that.

 25 They seem to be outdated by -- by a long shot.                In addition,



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   1 none of the disclosure explains that there are significant

   2 risks to unsecured creditors if the trusts opt out of this

   3 litigation and that they could do materially worse if the

   4 trusts opt out and litigate.

   5               And there’s no -- there has been no disclosure

   6 since -- as to the exact costs that this process, this -- or

   7 is taking upon the proceeding.           No fee applications have been

   8 filed since November.         We don’t know where -- we -- you can,

   9 if you ask the debtor for operating reports get some sense of

 10 how those fees are accruing, but no one has any insight into

 11 -- to how much is being incurred.             And so the question is,

 12 you know, if the debtor needed an extra three million of

 13 cash, we may have just seen it fly out the door through this

 14 process.       We should at least have disclosure telling us where

 15 this cash is, where it’s coming from, a detailed sources and

 16 uses and of where all the cash is coming from, where it will

 17 go on effective date.

 18                Perhaps if that had been in the first disclosure

 19 statement, they would have recognized that there was a 6.2

 20 million missing somewhere.           But -- but it seems only

 21 reasonable now if we’re going to go down this process again,

 22 that that level of disclosure be provided so that we don’t

 23 have to come back here again and find that something else was

 24 missed, and that there’s not enough money to get this done.

 25                In addition, Your Honor, as I mentioned, there is a



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   1 number of just false and misleading disclosures made

   2 regarding my client, First Marblehead.             Regarding the data,

   3 we stand ready to produce everything that we’ve provided in

   4 the reply.        We believe they have everything they need.           We’re

   5 at a loss.        We just don’t know how else to help them.           They

   6 just need to call and -- and tell us.

   7                 In -- in addition, Your Honor, with respect to the

   8 amounts of their disputed loans, the amounts of their

   9 recoveries, this is all data they have for some reason in

 10 their disclosures they want First Marblehead’s statements

 11 regarding what First Marblehead thinks about needs be in

 12 there.         First Marblehead has no position regarding the

 13 amounts.         Those -- That’s information in TERI’s hands.

 14                  And with respect to the disputed recoveries,

 15 there’s some suggestion that First Marblehead provided

 16 incorrect reporting.         This is not the case.        The reporting

 17 with respect to that 6.2 million has been in TERI’s hands

 18 since 2006, and as we understand, pursuant to their trust

 19 orders, should have been maintained throughout this

 20 proceeding.         It just isn’t an issue with First Marblehead,

 21 and we’re not sure why they continue to -- to make false

 22 statements regarding First Marblehead’s involvement with this

 23 data.

 24                  And so, Your Honor, again, with respect to those

 25 disclosures regarding data, we’d ask that those be corrected



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   1 as well.

   2               In -- in conclusion, Your Honor, First Marblehead

   3 does believe that this plan adversely affects all creditors.

   4 We would request that -- that the order be entered confirming

   5 the plan, that it go forward on the -- on the basis it was

   6 confirmed by all the creditors, but if -- if this Court is

   7 willing to move forward on modifying it, there is an enormous

   8 amount of disclosure that should be provided so that we

   9 aren’t here again having missed something else that -- that

 10 they may not know about now, and -- and we need disclosure to

 11 ensure that.       And that’s all I have, Your Honor.

 12                THE COURT:      Thank you.     Mr. Martin did you want to

 13 -- or,, Mr. Samson?

 14                MR. SAMSON:      Thank you, Your Honor.        Thank you,

 15 Your Honor.       Paul Samson of Riemer & Braunstein for RBS

 16 Citizens, NA.

 17                RBS Citizens is one of, I think, the second largest

 18 lender in this case as contrasted to the trust which we agree

 19 are also large.        We are holding approximately 1.33 billion of

 20 student loans as of the petition date and the various

 21 programs.       We also held a substantial amount of collateral,

 22 approximately 45 million in the pledged accounts, and because

 23 we were partially secured, although invited, we did not serve

 24 on the Official Committee of Unsecured Creditors.

 25                So we were not a plan proponent.          We had our own



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   1 issues.       We negotiated extensively with both TERI and the

   2 Committee, as the Court knows, with the first stipulation

   3 that was approved at the April 28th hearing.              We are here

   4 today to support the Committee and TERI in its

   5 motion to modify the fourth amended plan.

   6                We note, for one thing, that we would agree with

   7 the Court’s suggestion that without a confirmation order,

   8 there is not an official confirmation.             As the Court knows,

   9 confirmation tends to be a final order, and you can’t very

 10 well appeal confirmation until there’s a confirmation order

 11 entered.

 12                 Also, the Court does have broad discretion to

 13 modify, to change it’s mind, to -- once it sees the draft 40-

 14 page order -- to have additional hearings until such time as

 15 the order is entered; and until the final order is entered

 16 and the wording established, there’s no confirmation per se,

 17 although everyone was here on the 28th, and everyone heard the

 18 evidence and -- and heard the Court, it’s still not formally

 19 confirmed until an order is entered, and it’s more than a

 20 mere formality.

 21                 Indeed, if the Court finds out that some basic

 22 assumptions, which appears to be the case here, there’s a

 23 huge disagreement on, one, the assumptions as to what the

 24 plan means, and, two, the proponents saying, “We made a big

 25 mistake,” that would be grounds for the Court to reconsider


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   1 its statements on April 28th and say, “Wait a minute, we want

   2 -- I want to hear some more evidence on some more points

   3 before I finally make up my mind.”

   4               One thing that was telling in the discussion today

   5 is that the objecting parties, although there was talk,

   6 “Yeah, we had an agreement, and we always understood our

   7 agreement to be this and that,” what was telling is, none of

   8 the objecting parties said, “And we specifically agreed with

   9 the Committee and TERI that these monies were going to go to

 10 the trusts.”

 11                And I infer from that that it never happened, and I

 12 infer from that that -- and -- and we’ve, obviously, made

 13 discussions with -- with TERI and the Committee, that TERI

 14 and the Committee never ever intended that to happen, however

 15 one may be able to interpret the wording today.                And, you

 16 know, perhaps I was not as astute as I should have been in

 17 advising my client, but I can tell the Court that when we saw

 18 the definition, “securitization trusts collateral,” we

 19 assumed that it was implicit that this -- these were assets,

 20 that the securitization trusts had a valid claim that they

 21 were collateral.

 22                I think it’s very telling that Ambac’s attorney

 23 acknowledged that they never claimed that they had

 24 collateral.       We had collateral, we’re paying about 2.3

 25 million dollars to settle a lien dispute that we’ve had with



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   1 the Committee and TERI, and we would have been very troubled

   2 had we known that there was an argument based on the

   3 definition of a securitization trust, that something that was

   4 not their collateral was going to be paid to them in addition

   5 to the collateral, and we may have reconsidered our vote, or

   6 at least we would have had a discussion with the proponents

   7 like, “What’s going on here?          What’s your justification for

   8 doing this?”      Of course, they never intended to do it.             So we

   9 never have had that discussion with them.

 10               But, you know, the disclosure statement, if the

 11 objecting creditors’ arguments are correct, the disclosure

 12 statement may have been deficient, too, because it should

 13 have been disclosed then to people like my client that

 14 they’re getting collateral that they never had a claim to,

 15 and I’m not even sure that would be appropriate, Your Honor.

 16 Certainly it should have been fully disclosed and elaborated

 17 on, and -- and, again, since we know there was a mistake,

 18 there was nothing to disclose because the proponents thought

 19 otherwise.

 20               I -- we are a little troubled by some of the veiled

 21 threats that we’re hearing.           I mean, the -- the plan -- the

 22 Code process for voting and confirming on a plan is to have

 23 the proponents propose the plan, you vote, you object, and so

 24 on.     To make an argument to a Court that, “We’re going to

 25 make it cost more to not agree with us than it will cost if



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   1 you do agree to us,” is -- is not a jurisprudential argument,

   2 Your Honor.      It’s -- it sounds a little bit like a got-you

   3 argument.

   4               And, and I agree with the Court’s suggestion

   5 earlier that this thing can be totally analyzed, and I’m --

   6 I’m not suggesting that anyone was acting in bad faith when

   7 all this came up, but it -- it is getting down to a “Got you;

   8 we’re going to cause trouble if you rule against us,” as

   9 opposed to, “Yes, everyone made a mistake, it’s very clear.”

 10 Our client made the same mistake, I can tell you, and I did,

 11 too, that the Committee and TERI made, we interpreted that

 12 differently.       So we would request the Court to allow the

 13 motion to modify the plan.           Thank you.

 14                THE COURT:      Thank you.

 15                MR. MARTIN:      Good afternoon, Your Honor.         Ross

 16 Martin, Ropes & Gray for The Nellie Mae Education Foundation.

 17                Your Honor, Nellie Mae is not the largest creditor

 18 in this case, but listening to the folks today here, I think

 19 we might be the largest creditor who’s here who hasn’t been

 20 involved in any of this, and I think that gives us an

 21 interesting perspective.          We filed a very short objection

 22 about a day before some of the larger ones were filed, which

 23 essentially says we really don’t quite understand what’s

 24 going on here, we don’t understand the cost of benefits, and

 25 I will -- based on the debtor’s initial motion filed about a


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   1 month ago, and so we followed the back and forth of the

   2 papers and the -- the numbers and -- and the statements today

   3 with some interest.

   4                 And I’d like to -- I’ll be relatively brief, but

   5 I’d like to make some observations about on how we see some

   6 of these arguments back and forth because I find myself

   7 agreeing with some of the things my brother Mr. Glosband

   8 says, and I also find myself quite sympathetic to some of the

   9 things being said over here, but I also have a concrete

 10 suggestions to move this process forward because it’s -- it’s

 11 not necessarily in a great place where it stands today.

 12                  So, first of all, for whatever it’s worth, I think

 13 we completely concur that the plan is not confirmed.                  I think

 14 that’s very straightforward.           I don’t think any of us here

 15 would advise clients to pay money to buy assets in a 363 sale

 16 until an order is entered on the docket, I think that’s very

 17 clear as a matter of law.

 18                  On the other hand, I found Ambac’s argument about

 19 their position quite compelling.            As a matter of fact, they

 20 negotiated a deal three times here, and they’re being told

 21 now at the last minute that they’re going to have to give up

 22 a lot.         And that doesn’t mean necessarily the debtors don’t

 23 have the right to do it because I think they do have the

 24 right to modify the plan.           But giving where we are, starting

 25 with a fourth amended plan, I think the Court needs to


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   1 seriously consider what the process is and the remedy isn’t

   2 forcing the plan down the debtors’ throats.              I just don’t

   3 think the Court can do that.          But we need to think quite

   4 seriously in light of Ambac’s quite valid concerns about

   5 where this is.

   6               Now the flip side of this a little bit is I hear

   7 Ambac saying, and frankly, First Marblehead, but I think --

   8 First Marblehead as well, but I think Ambac is a -- is a

   9 better example here -- that they need more information, that

 10 there should be more disclosure.            The debtor is completely

 11 right here.       No matter what they say at this table in the new

 12 disclosure, these folks are going to check it.

 13                It really doesn’t matter from the disclosure

 14 perspective what -- what gets said here now.                We should talk

 15 separately about disclosure to everybody else in the world.

 16 Frankly, people like my client, and people that -- the

 17 disclosure that’s going to be passed back to the note

 18 holders, but for the principal to objectors here, more

 19 disclosure is frankly not necessary at all.               If there’s

 20 something they don’t know, they can ask and get it.

 21                Now, I think that is critical.          It goes to

 22 something that has not been observed here today that occurred

 23 to me as I was sitting here.           There’s something that’s not --

 24 that’s implicit in the original disclosure statement that

 25 maybe is the most important thing about that disclosure



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   1 statement, and that’s that when the disclosure statement

   2 before the fourth amended plan went out, everybody knew that

   3 Ambac, the largest creditor, the one creditor who, if they

   4 didn’t like the deal, had the capability to actually litigate

   5 the decoder issues and the trust adversary issues.                They’ve

   6 got enough at stake, being in the 13 of the 17 things, okay.

   7                The solicitation of a plan under these

   8 circumstances, which is a huge settlement trying to get

   9 everybody on board, is totally different with Ambac on board

 10 to start with where they don’t need to say anything, and if

 11 they’re starting in a place where Ambac is not on board

 12 because all the other trusts are going to go along, they’re

 13 not going to want Ambac to get a better result than any of

 14 them, and under this plan remember that there’s a most

 15 favored nations clause.          This was highlighted at the

 16 confirmation hearing.          If Ambac litigates and wins,

 17 everything changes.         All the numbers change.

 18                 Now when they originally sent this out, they knew

 19 Ambac was on board.         And I suspect, it’s not actually in the

 20 disclosure statement as far as I could tell, I re-read it

 21 quickly before the hearing, that they were highlighting that,

 22 but they knew that, and I bet there were lots of discussions

 23 behind the scenes with bondholders and everyone else that

 24 there very likely was not going to be litigation of these big

 25 issues.        That is a critical piece of disclosure, that if this



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   1 plan is going to be modified, frankly, creditors need to know

   2 whether it is likely that Ambac is going to litigate, because

   3 First Marblehead says there’s going to be a lot more cost on

   4 both sides, there could be totally changed results, people

   5 could decide that they don’t want to join because they want

   6 to go along.

   7                 This Court directly asked, “What are the adverse

   8 changes?”       One of the adverse changes might be getting stuck,

   9 you know, having accepted, but with Ambac still litigating.

 10 Nobody raised that here today, but that seemed to me to be a

 11 very important potential adverse effect on all the creditors,

 12 not just Ambac, not just First Marblehead, not just the

 13 trusts.

 14                  So a suggest that we frankly have arising out of

 15 this, Your Honor, is that we might be almost there, the

 16 debtors certainly have the right to modify their plan, as I

 17 said, and might be almost there; but frankly before this

 18 process can go, we need to know whether Ambac’s on board,

 19 just like we did the first time.

 20                  Now that might, at first blush, when I realized

 21 this a couple of days ago, seemed like Ambac has all the

 22 cards.         I’m not so sure, Your Honor.       It’s a lot of money,

 23 but it’s not that much money.            Ambac, itself, not a month

 24 ago, two months ago, entered a rehabilitation proceeding in

 25 the State of Wisconsin.          It’s not clear to me that they’re



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   1 going to approve the expenditure of millions and millions of

   2 dollars to litigate all this.

   3               I found very intriguing one sentence in their

   4 objection, and I’d just like to point to it, if I can find

   5 it, because I found it quite telling.             They’ve written a very

   6 long objection.       What they say on page 30, and I -- and in

   7 fairness to my brother, I’m picking one piece out of his

   8 pleading, but I -- just using this as an example, he says at

   9 the very bottom of the page,

 10                “It is hard to dispute that such a significant

 11                reduction in their recovery would not prompt the

 12                master trust to at least reconsider its acceptance

 13                of the modified plan.”

 14 That is a lot of words to say “maybe,” but I’m not sure yet.

 15 They can get all the information they need, they should talk

 16 to the debtors, they can -- they’re going to check it all

 17 anyway, and we all need to know whether we’re just going to

 18 be back here at the end of August at a huge cost and expense

 19 because Ambac’s rejected the plan, when we can find that out

 20 in advance, and we should find that out in advance.                 We knew

 21 last time in advance, and that was very critical.

 22                Now the third observation that I have, Your Honor,

 23 is as to this accounting and the segregated accounts which I

 24 thought I understood, then I didn’t think I understood when I

 25 saw the reply brief of the debtor, and now I think I



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   1 understand even less.         This is the -- now what is supposed

   2 only $500,000 over something related to court costs, and I’ll

   3 be the first to confess, Your Honor, I don’t fully understand

   4 it.

   5               What I do know, Your Honor, is that when they filed

   6 the current modification a month ago, almost to the day,

   7 whatever the problem was with the accounting under a prior

   8 court order that they were supposed to do pursuant to an

   9 order of this Court was going to cause a hold up of essent --

  10 some huge amount of cash because both the objectors pointed

  11 to that.      Now in the reply brief it’s less, and since the

  12 reply brief it’s even worse.

  13               I hope, and it’s probably very likely, because I’m

  14 sure the professionals here and -- and Mr. Renzi and Mr. Peko

  15 have taken their look, that that’s right, in which case it’s

  16 not a material change, but the notation that without any

  17 other disclosure here, without any more report to this Court

  18 that we’ve gone from a pleading that they filed, and a

  19 modification that they filed a month ago that said they

  20 needed to hold up all the hundreds of millions of dollars of

  21 distributions, it’s only $500,000 today, they actually

  22 haven’t changed the plan yet to reflect this latest, “we’re

  23 only holding back -- it’s only -- it’s only a half million

  24 issue,” whatever that is.          It’s not fully changed as far as I

  25 can tell.



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   1               But it seems to me that this is an issue -- I’m not

   2 proposing that the process be blown up over this whatsoever.

   3 I’m simply saying that there needs to be some more disclosure

   4 and report to this Court before we go off.             I mean, what we

   5 have, Your Honor, is this.          This is the chart, this is the

   6 Exhibit F, this is what creditors is going to re -- they’re

   7 proposing that this piece of paper is what creditors read,

   8 plus 200 pages of back and forth between these folks.                That’s

   9 not disclosure.       Disclosure, I’ve been in cases, it may have

  10 been in this court years ago, but they can do some kind of

  11 supplemental five-page, ten-page, they can make it clear, the

  12 -- the back and forth is not going to help anyone understand

  13 what was going on.

  14               And the last point I’d like to make, Your Honor, is

  15 the cost and benefits really do have to be weighed here.                 I

  16 found it notable in the -- that in the debtor’s reply brief

  17 there was essentially no response to First Marblehead’s

  18 points that the valuation that they’re using to justify the

  19 benefits, that is, the valuation that produces these numbers

  20 that they say makes it only adverse to three trusts, is not

  21 the same as the decoder.         If -- look, if it’s not the case,

  22 it’s not the case, but if they’re using one set of valuations

  23 to -- to justify the plan and all the findings this Court

  24 previously made, but another to justify that the adversity,

  25 that’s a real problem.



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   1               Secondly, there is no response to the fee issue.

   2 Whatever the fees are in the case today, we don’t know what

   3 they are from November to now, and we don’t know what they’re

   4 going to be going forward if Ambac opts out and everybody

   5 else opts out.       Those are very real issues.

   6               So, Your Honor, in sum -- and, again, you know,

   7 maybe -- maybe we’re in a little bit of a unique position and

   8 maybe the Court will just disregard us because we’re not in

   9 the midst of these negotiations, but I really do fear if

  10 we’re going to be back here again, either with a plan with

  11 very large creditors who are not on board -- and we could

  12 have known that in advance -- with the Court imposing some

  13 kind of structure on this process; or as First Marblehead

  14 suggests, it’s just not clear to me at all that there’s

  15 really a net benefit at the end of the day.              If the valuation

  16 is lower and the costs are higher and anybody opts out and

  17 litigates, this cash is gone.

  18               And they’re right, one of the big places it’s going

  19 is to reorganize TERI.         It is what it is.      The Court has made

  20 its findings on that.         I’ve been heard on that issue before.

  21 But this is not, this one page and 200 pages back and forth

  22 is not disclosure to anyone, I couldn’t make heads or tails

  23 with.

  24               So my suggestion, Your Honor, is that we have some

  25 kind of process that gets these folks together and gets it


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   1 negotiated.      Ambac may say they’re going to opt out and these

   2 folks can say Ambac is never getting its money.               I mean, they

   3 -- they need to get that worked out, just like they had it

   4 worked out before.        Thank you, Your Honor.

   5               THE COURT:      Thank you.    All right.     Mr. --

   6               MR. GLOSBAND:     Yes.

   7               THE COURT:      -- Glosband?

   8               MR. GLOSBAND:      (unclear)

   9               THE COURT:      Briefly.

  10               MR. GLOSBAND:      Thank you, Your Honor.        I will try

  11 to be brief.      I’ll start by saying, and I’ll do it in order

  12 of the parties.

  13               I agree with Mr. Kapp, that Ambac is not a bad guy,

  14 but I would note that things aren’t quite as clear in the

  15 documents in addition to -- in today’s presentation, as some

  16 of our friends would pretend they are, and so, for example,

  17 and I’ll try to cut through this.

  18               The -- the clarity with respect to the list of

  19 loans on Mr. -- which Mr. Kapp relies is inconsistent with

  20 Schedule B to the plan, which has the numbers in it, which

  21 says what they’re getting, and which says what they’re

  22 getting in terms of loans are those purchased at a pledge

  23 account collateral.        So you have a yin and you have a yang on

  24 that issue.

  25               In addition -- and maybe I’d digress a bit what Mr.



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   1 Martin just said, it wasn’t said in the disclosure statement

   2 that Ambac was accepting the plan, and so it’s hard to see

   3 how anyone could have relied on Ambac’s acceptance, at least

   4 if they were relying on the disclosure statement.               Ambac

   5 wasn’t in the plan on those terms at that time.               So it simply

   6 wasn’t there.

   7               On some of the cases, without getting into the

   8 case-by-case refutation, the two cases that Mr. Kapp relied

   9 on to say the Court must confirm the plan, the Rickle case

  10 and the Antiquities case, and it said the Court can’t modify

  11 the plan, both of those cases came up after the plan had

  12 substantially consummated, in fact, years after when parties

  13 had, in fact, changed their positions, as they do in

  14 substantial consummations.          So those just aren’t supportive

  15 of his point.

  16               As to whether or not the plan is workable, and

  17 there’s no fault of the plan proponents as a condition to

  18 modify under 1127(b), first of all, I would say we’re not

  19 under 1127(b).       And second of all, I’ll be darned if I can

  20 find that in the case that he cited it at the page that he

  21 cites, or anywhere, for that matter.            I mean, what we have

  22 here are the circumstances that I’ve described earlier.

  23               In terms of the cases that say we need to start

  24 over with the disclosure process, and the rather assertive

  25 statements that there are no cases ever where there was an


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   1 adverse effect found where a court didn’t force a full

   2 redisclosure, well, we did cite those cases and we discussed

   3 them.     I would refer to the Simplot case in our material

   4 because that’s a convenient source of all the other cases

   5 discussing that point in which the Court found that the

   6 disclosure was tuned for the circumstance, and if the parties

   7 affected by the adverse change were sophisticated and

   8 involved, there was no further disclosure required, that

   9 there’s no further disclosure required to parties who aren’t

  10 adversely affected.

  11               So there is authority that way, and with all due

  12 respect, and I know you’ll be disappointed, you won’t be the

  13 first if you -- if you go in that direction.

  14               With respect to the U.S. Bank presentation, again,

  15 we heard about how black and white and clear everything was

  16 and, all of a sudden, now the plan might not be feasible, we

  17 say, if it’s confirmed as written -- as interpreted by them.

  18 Well, there’s more to it than just the cash component and

  19 whether or not TERI gets cash for some new business, and

  20 there are two points, and I might sort of blur with my

  21 objections to try to save time.

  22               One is that TERI is not only embarking on a new

  23 business, TERI’s got a two-year contract to collect loans for

  24 the Committee, an issue made much of it at the last hearing

  25 by Mr. Martin.       If TERI doesn’t have any cash other than its


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   1 restricted charitable funds, it can’t do that collection

   2 business.      In that regard alone, the plan is not feasible.

   3 It’s also not feasible from the perspective of TERI

   4 attempting to -- to generate a new business.

   5               In terms of, you know, the overview of things,

   6 we’ve sort of heard from, except for Mr. Samson, one

   7 perspective of how adversely this affects how many people,

   8 and I would point to the plan itself and the fact that there

   9 are approximately 44 classes in that plan; and as of today,

  10 subject to the right of a couple of them to change their

  11 votes, all of them accept it.

  12               Based on the modifications that we’ve filed, we

  13 believe three classes would be adversely affected and they

  14 can change their votes, even if it’s all 17,and we’ve said

  15 we’d submit it to the 17 securitization trusts, there are 17

  16 out of 44.      You still have by number of classes overwhelming

  17 acceptance of this plan if they all change their minds, and

  18 it’s, (a), hard to see why they would; and, (b), we would

  19 reserve the right even if we allowed them to vote to argue

  20 that only the three that were adversely affected should have

  21 votes that count if they change their votes.

  22               Everybody is projecting on that side of the room on

  23 horribles about all of these classes changing their votes,

  24 and all of them choosing to litigate, and all of the costs

  25 therefore escalating out of control, but I think that’s


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   1 perhaps an unrealistic speculation, and I would only refer

   2 the Court to the list that was Schedule B to the original

   3 plan and the pledge account balances.            I mean, for example,

   4 we’ve heard a lot of speculation about what Ambac might do.

   5 Well, Ambac is the control party for three trusts.               Under the

   6 original plan, one of those had a significant unsecured

   7 claim, the Master Trust, and its claim as adjusted for the

   8 settlements was 5.9 million dollars out of more than 300

   9 million dollars in claims in the case.

  10               The other two trusts didn’t have claims because on

  11 the decoder calculations, they had equity.             On the other

  12 hand, those two trust have between them about 130 million

  13 dollars in pledge account collateral.            It’s rather hard for

  14 me to see why they would change their vote and get into a

  15 situation where they’re going to litigate and delay the

  16 ability to realize 130 odd million dollars of budget account

  17 collateral.      So I can’t say what they’re going to do, but I’m

  18 just thinking the logic as I heard it was not the logic as I

  19 would certainly think about things.

  20               The other point I’d make, and it sort of transcends

  21 both the First Marblehead and the U.S. Bank objection, with

  22 respect to the 6.2 million dollars in cash, it very deftly

  23 presented, I thought, of Mr. Jenkins to make it sound like

  24 we’re taking that money out of their pockets; but it wasn’t

  25 exactly how it was structured, presented, how the plan was



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   1 negotiated, and how the evidence was presented to the Court.

   2 Instead, what the Court had and what all the parties had was

   3 the best interest to creditors test.            And in the best

   4 interest to creditors test, it’s a line item for restricted

   5 cash of 364 odd million dollars that’s going back to the plan

   6 trust.

   7               That line item has within it the three million or

   8 so dollars that we thought was going back.             (unclear) a

   9 separate line item.        And the remainder of the funds in the

  10 segregated account.        So if anyone on that -- in that

  11 constituency were to look at what was in the disclosure

  12 materials, and no one objected to the disclosure materials on

  13 that basis, they would have said, “All right, I’m getting my

  14 share of 364 million dollars, and I know what my pledge

  15 account balance is because I can see that on the list, the

  16 rest of it is a number that’s going to be allocated, I’m

  17 going to get something more, I don’t know how much more, I’ll

  18 find out, I guess, later.”

  19               But no one was intent enough about that particular

  20 piece of accounting and it’s unfortunate, but no one was

  21 intent enough about that that we actually laid out line item

  22 by line item that allocation.            In response to what I’ve

  23 heard today, perhaps it would be a good idea to supplement

  24 disclosure with that, and we’re, you know, perfectly willing

  25 to do it, but it’s sort of not appropriate for there to be an


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   1 impression created that people were relying on getting that

   2 particular amount of cash.          In fact, there was no basis for

   3 understanding what amount of cash there was; and, in fact, we

   4 thought the amount of cash being distributed in that category

   5 was at that point in time around 11 million six.               It’s now

   6 grown to 16 million six because of additional collections.

   7 But we also thought that it didn’t include another 6 million

   8 two that was retrospectively calculated, and if you’ll pardon

   9 the expression, was presented to us and what I would

  10 characterize as -- as sort of a last minute sneak attack, but

  11 I’m trying to stay out of recriminations and

  12 characterizations; but we do feel a bit put upon by the

  13 process.

  14               And I -- I don’t know that I need to respond to the

  15 specific inquiries that I’m alleged with having received with

  16 respect to the 6.2 million.          I was asked about whether money

  17 had been set aside from the segregated account, and my answer

  18 was, “Yes.      I don’t know what the numbers are, we’ll ask the

  19 company.”      By the time of the disclosure statement or the

  20 confirmation hearing, that issue had not been definitively

  21 resolved between the parties.          It was not a matter of anybody

  22 affirming or denying anything.           It was a, we’re still working

  23 on allocating those numbers and the issue was not pressed

  24 hard by anyone.

  25               So I’m really trying to just respond to what I



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   1 thought were the key points and clear up a couple of possible

   2 mis-perceptions from the way that matters were presented.

   3                 I guess I’d come back to saying, if only three

   4 trusts are materially adversely affected, and I think that’s

   5 the case, then those three get to vote.             If they decide to

   6 opt out, you know, the answer is the plan has a mechanism for

   7 every trust to opt out, and that nowhere it says in the

   8 disclosure statement that anybody has opted in or opted out

   9 at that point in time.

  10                 If they opt out, what has to happen is that their

  11 decoder claim gets determined by some other method.                That

  12 method might be litigation, it might be truncated litigation

  13 in the form of estimation, it might be negotiation, who

  14 knows?        But they might not opt out either.       So -- so to wait

  15 the decision in this case on the prospect that everybody is

  16 going to opt out I think is unrealistic because they’re not.

  17 I really don’t think anymore than three ought to have a

  18 chance to opt out, but as I said before, we’d go through the

  19 process and let the others vote, and reserve that issue for

  20 -- for later.

  21                 The last point I’d make is that with respect to

  22 some of the suggestions on disclosure -- and I, not that I

  23 always just agree with Mr. Martin, but he is correct, he’s

  24 not someone who’s been involved in this process.               If there

  25 are some parts of this that would benefit from, you know, a



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   1 condensed disclosure presentation, like an updated cash

   2 number, like a statement of the fees that have accrued, and I

   3 would on that point, by the way, say there aren’t any secrets

   4 here, everything is in the operating reports and the

   5 operating reports are available to anybody who asks for them;

   6 but in any event, we could put that into a single piece of

   7 paper, if that would be -- would be helpful, and it really

   8 depends where the audience is.           If the audience is the three

   9 folks we’re talking about, those three trusts, they either

  10 have everything or are going to have it in a second.                If it’s

  11 broader than that, then sure, we can do, you know, a bit of a

  12 supplemental disclosure.

  13               But I see no reason in this situation that we

  14 should start the process over, other than to defeat the

  15 process, which I think is the reason that that suggestion has

  16 been made.

  17               So I will -- I’m going to close where I started,

  18 and that is, I wasn’t happy to have to come in with this

  19 presentation at all today.          I’m not any happier than I was

  20 when I started, but I do think that we have appropriately

  21 made the point that we’re entitled to modify the plan.                We

  22 need to modify the plan.         There’s no improper motive in our

  23 seeking to modify the plan.

  24               Modifying the plan affects really three classes of

  25 securitization trusts creditors, at worse, 17 classes;



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   1 doesn’t affect the other, whatever the difference is between

   2 44 and 17, 27 -- you know, classes of creditors.

   3               I guess the other things I could offer is if it

   4 were -- if the parties thought it would be beneficial, we can

   5 update the best interest trust and all of these things are

   6 things that are done, we’re just, you know, happy to put it

   7 all in a little package and -- and include it.              We can update

   8 the projections.       I mean, all of that is -- is relatively

   9 straightforward.       We just didn’t really it mattered to

  10 anybody’s decision.        If people think it does, we’re happy to

  11 accommodate.      Thank you very much.

  12               THE COURT:      Thank you.

  13               MR. SAMSON:      I’ll be very brief, I promise.         I

  14 just want to clear up one point.

  15               There were suggestions made that we proposed a

  16 process to go solicit changes of votes where we’re requiring

  17 people to do things that are either inconsistent with the

  18 prior orders you entered, or inconsistent with their

  19 contractual arrangements between themselves.

  20               I just want to clear it up.        We’re not requiring

  21 anything.      We have proposed as an accommodation of process.

  22 If they think that process is deficient, they’re free on

  23 notice to us to tell us, “Thank you, but no thank you, we’ll

  24 take care of that ourselves.”          Just like when we go to

  25 Citizens Bank, we don’t go and solicit the Board of Directors



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   1 and shareholders of Citizens Bank, we’re not required to

   2 solicit the bondholders of the trust.            If we’re doing it in a

   3 way which we think is cost effective and conforms with 1127,

   4 but they don’t like it, the answer isn’t, “We’ll go back to

   5 the robust process we had before that cost a lot of money and

   6 took a lot of time.”          The answer is, “Fine, you -- you can

   7 handle it yourself, we’re not preventing it.”

   8               So it’s not correct. we’re not forcing anybody to

   9 do anything.

  10               With respect to disclosure, the real concern, Your

  11 Honor, whatever process you order, it be one that’s correct.

  12 I think the one thing everyone agrees on here is we need to

  13 get the plan confirmed quickly.           Certainly on the five

  14 specific points that have been raised by Ambac, the cash, you

  15 had an affidavit of Mr. Peko at the last confirmation

  16 hearing, presumably you’ll have another affidavit at another

  17 confirmation hearing that will provide the same information,

  18 if it -- that affidavit was sufficient form of disclosure

  19 before, there’s no reason to think it wouldn’t be sufficient

  20 now.

  21               Second, Ambac wanted assurance its pre-petition

  22 loans would be maintained, that -- that the plan says that,

  23 they will be maintained; and if they’ve got specific details

  24 on that, they -- we’ve asked them to let us know and we’ll

  25 trying to accommodate them.          We -- we haven’t gotten a



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   1 response yet about what the details about.             The mechanism of

   2 maintenance is particularly troublesome, but we’re agnostic.

   3 If we can work something out that isn’t over costly, I -- I

   4 don’t see that as an issue.

   5               The chart on page 14 should be updated.           I suppose

   6 we don’t have an objection to updating the chart and

   7 including an updated chart.          The contentions about First

   8 Marblehead they say are unsupported.            Well, you know, they

   9 are what they are.        They responded fully.

  10               And five, understand the point of the exercise.

  11 1127(d) talks about changing votes.            The people who get a

  12 right to change the votes are the people who are objecting.

  13 The disclosures measured against what might be required, if

  14 we were going out for the first time with the whole body, we

  15 might be doing something very different.             But for the purpose

  16 -- fit -- it’s fit for the particular purpose, Judge.                Those

  17 that get to change their votes have sufficient disclosure.

  18 Thank you, Your Honor.

  19               MR. PEDONE:       Your Honor, if I may be heard

  20 briefly?       The plan proponents have ignored their burden.

  21 Their burden is to prove that they can come here with a

  22 feasible plan that will go out.

  23               Part of the burden with a plan that proposes a

  24 settlement is that the counter-party to the settlement is

  25 accepted.      Mr. Sternklar has just stated that plan proponents



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   1 are not willing to use procedures that result in an

   2 acceptance of the settlement.          That’s a concession that they

   3 could end up with litigation with 17 trusts, and that’s a

   4 plan that won’t be confirmed.

   5                I would submit that, in effect, without committing

   6 to the procedures with changes that are as material as they

   7 are proposing, they are, in fact, under Section 14.5 of the

   8 plan in withdrawing the old plan, and that we need procedures

   9 that allow for the process to go forward -- go forward.

  10                Finally, with regard to disclosure, 1127(c) without

  11 regard to what any cases not similar to this say, is the

  12 black letter law.        Thank you.

  13                MR. KAPP:    (Approaching microphone; unclear) Your

  14 Honor, just one (unclear).          I asked him to make it and he

  15 didn’t.       J. Kapp for AM -- Ambac Assurance Corporation.

  16                The only point I wanted to make is, Mr. Glosband

  17 changed the procedures on us again, and now I’m confused.

  18 His -- his motion said -- his reply said that all the

  19 securitization trusts would get to -- to re-vote.               He’s now

  20 said that, “Well, we -- we’ll reserve it for later.”                Well,

  21 that’s not the same thing.          So I’m, once again, completely

  22 confused.       But I just note that he -- he’s changed what he

  23 said from the beginning, and I just wanted to point out that

  24 inconsistency.       Thank you, Your Honor.

  25                THE COURT:     Thank you.    All right.     I -- I find



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   1 and I rule that the settlement with Ambac in the

   2 securitization trust it represents was a foundation and

   3 extricably intertwined with the material provisions of the

   4 fourth amended plan.

   5               It’s clear to me that with the interpretation that

   6 is now being preferred by the plan proponents advanced or

   7 understood during a negotiation between Ambac and the plan

   8 proponents, the present settlement would likely not have been

   9 agreed to, and either negotiations would have continued to

  10 meet Ambac’s concerns resulting in a different plan structure

  11 or a different plan treatment, or the plan proponents would

  12 have adopted a more litigious approach in their plan

  13 presented to the Court as -- as to Ambac.

  14               In any event, history cannot be rolled back, and it

  15 is now too late and decidedly inequitable to preserve some

  16 elements of what has been described as a settlement and

  17 change others.

  18               In any event, the Court rules, as it indicated it

  19 was inclined to do at the outset, that the fourth amendment

  20 -- fourth amended plan was not confirmed.

  21               Furthermore, for the reasons that I’ve just set

  22 forth, that plan is not modifiable.

  23               Accordingly, to the extent necessary, I -- and I’m

  24 not certain it is, I alter and vacate the conclusions I

  25 reached on April 28, 2010 and now -- now find that the fourth



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   1 amended plan is not confirmable under 1129(a)(2) and/or

   2 (a)(11).      The plan proponents’ motion to modify the plan is

   3 denied.

   4               The debtor is ordered to file a fifth amended plan,

   5 a further amended disclosure statement, and motion to approve

   6 same on or before August 27, 2010.

   7               Now the order I’ve just entered -- I just issued,

   8 which will be entered, is itself alterable.              If the parties

   9 within a relatively short period of time decide to sit down

  10 and avoid the mutual -- the mutually assured destruction,

  11 which is the path on which they’re traveling, then maybe we

  12 can get back to the fourth amended plan with some

  13 modifications; but absent -- absent a resolution, I look

  14 forward to seeing a fifth amended plan on or before August

  15 27.     Thank you.

  16               MR. SAMSON:      (unclear)

  17               THE COURT:      Yes, sir.

  18               MR. SAMSON:      (unclear) a matter of time?

  19               THE COURT:      Oh, yes.    I apologize.     Well, are they

  20 dependent -- They’re not dependent on the -- on the confir --

  21 on the viability of the plan?

  22               MR. SAMSON:      I do not believe that ours is.

  23               THE COURT:      All right.    Well, then I’ll hear you.

  24 Thank you.

  25               MR. STERNKLAR:     Judge, can we (unclear) ten minutes



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   1 to talk to (unclear) the issue you just raised is (unclear)

   2 needs to be discussed.

   3               THE COURT:      You think maybe -- maybe not so much?

   4               MR. STERNKLAR:       Maybe not.

   5               THE COURT:      All right.    I’ll come back out in ten

   6 minutes.

   7               MS. MARTIN:     And, Your Honor, --

   8               THE COURT:      Yes.

   9               MS. MARTIN:      -- one other, I think that the TCF

  10 stipulation was a motion to change a vote of the fourth

  11 amended plan, so --

  12               THE COURT:      Sounds moot to me.

  13               MS. MARTIN:      Right.

  14               THE COURT:      Okay.

  15                     [Off the record at 4:12:34 p.m.]

  16                               * * * * * * * *

  17                     [On the record at 4:40:48 p.m.]

  18               MR. REYNOLDS:      All rise.

  19               THE COURT:      Please be seated.      So the question was

  20 whether the settlement with Citizens was still alive, still

  21 relevant?

  22               MS. MARTIN:      Yes, Your Honor.      We don’t believe

  23 that the settlement was -- with Citizens is dependent on any

  24 plan of reorganization.         Rather, it’s like the other -- or

  25 it’s most -- it’s more like the other sort of one off deals



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   1 we have done with some of the other large lenders in this

   2 case.

   3               Although there was a provision regarding support of

   4 the modified plan, and while we try and sort out what that

   5 means, what we’d like is a very brief continuance, like a

   6 one-week continuance, just to make sure that we modify that

   7 provision of the stipulation appropriately.

   8               MR. SAMSON:      Your Honor,     we indicated that that’s

   9 agreeable with us, give them a slight continuance.

  10               We -- we do also agree that it’s independent of

  11 what happens with the plan, but we did say we’d support A

  12 fourth amended plan which no longer exists.              So there’s no

  13 need to talk about the fifth amended plan.             And there were

  14 two pieces of this.        The -- getting back to the pledged

  15 collateral that’s been frozen for two and a half years, and

  16 agreeing on the claim --

  17               THE COURT:      Well, you can have -- (pause) -- hold

  18 on a moment.      You can have this Thursday at two o’clock, or

  19 August 5 at two o’clock, both in the video conference suite

  20 in Boston.

  21               MR. STERNKLAR:       (unclear, not near microphone) can

  22 we work something out (unclear) this Thursday?

  23               (Pause -- low-voiced conversations)

  24               THE COURT:      Or I could go out further, if you’d

  25 like.



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   1               MS. MARTIN:      No.

   2               MR. SAMSON:      No, please don’t.

   3               MR. STERNKLAR:       Our -- Your Honor, Jeffrey

   4 Sternklar for the Committee.           We’d prefer August if -- if

   5 it’s acceptable to Citizens.

   6               MS. MARTIN:      Okay.

   7               THE COURT:      August 5, two o’clock, video

   8 conference suite in Boston.

   9               MR. SAMSON:      Your Honor?

  10               THE COURT:      Yes.

  11               MR. SAMSON:      There were no objections filed, if we

  12 can -- ??

  13               ATTORNEY:     I’d like to address that, Your Honor.

  14               MR. SAMSON:      If we can all agree on the wording,

  15 can we just submit it to the Court?

  16               THE COURT:      Well, subject to what your brother is

  17 about to --

  18               ATTORNEY:     Well, Your Honor, I was about to --

  19               MR. SAMSON:      (unclear) he had the stipulation and

  20 the whole deal in front of him and so (unclear)

  21               ATTORNEY:     Sir, I let you spoke on my motion and

  22 you didn’t object.

  23               MR. SAMSON:      We both had --

  24               ATTORNEY:       Would you offer me the same courtesy?

  25               MR. SAMSON:      I’m not --



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   1               ATTORNEY:     Thank you.     Given what we’ve just

   2 heard, I think we need to look at -- take a look at their

   3 settlement; and in light of the fact the plaintiffs are going

   4 forward, I would ask for is that (unclear) being kicked to

   5 August 5th, give us -- we would ask for an objection for --

   6 deadline for a week to take a look at it if there’s a

   7 problem.

   8               I’m not anticipating there is, but to be quite

   9 honest with Your Honor, Your Honor, given everything that’s

  10 happened, I think it deserves a fresh look other than the 15

  11 minutes for folks just talking to the Clerk.

  12               THE COURT:    Well --

  13               MR. SAMSON:      And, Your Honor, my response would

  14 be, Ambac certainly is entitled to reserve all rights, but we

  15 -- we filed the first stipulation on April 22, we filed the

  16 second stip -- there’s nothing hidden.

  17               THE COURT:      Well, here’s -- here’s I think the

  18 appropriate way to deal with that.            If the only change is

  19 going to be the deletion of the agreement to support the

  20 fourth amended plan, or the substitution of an agreement to

  21 support whatever treatment is identical to the treatment that

  22 was received in the fourth amended plan, if that’s -- if it’s

  23 either of those, then as far as I’m concerned, Ambac has

  24 waived its rights, and I’ll allow that upon receipt of

  25 action.



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   1                  If, on the other hand, there’s something more than

   2 when I -- when we get it, we’ll set it for the -- for the 5th

   3 at two o’clock.             Okay?

   4                  ATTORNEYS:            Thank you, Your Honor.

   5 (End at 4:45:47 p.m.)

   6                                  * * * * * * * * * * * *

   7                  I certify that the foregoing is a true and accurate

   8 transcript from the digitally sound recorded record of the

   9 proceedings.


       /s/    Gloria C. Irwin                                        7/18/2010
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